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                                                     United States District Court
                                  Northern District of Illinois - CM/ECF NextGen 1.7.1.1 (Chicago)
                                          CIVIL DOCKET FOR CASE #: 1:23-cv-00170


 State of Illinois v. Eli Lilly and Company et al                                          Date Filed: 01/11/2023
 Assigned to: Honorable Steven C. Seeger                                                   Jury Demand: None
 Case in other court: Circuit Court of Cook County, Illinois, 2022CH11699                  Nature of Suit: 890 Other Statutory Actions
 Cause: 28:1442 Petition for Removal                                                       Jurisdiction: U.S. Government Defendant
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                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Lucas Thor Rael
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Michael Roger Hoernlein
                                                                                        Alston & Bird LLP
                                                                                        101 South Tryon Street
                                                                                        Suite 4000
                                                                                        Charlotte, NC 28280
                                                                                        (704) 444-1000
                                                                                        Fax: Pro Hac Vice
                                                                                        Email: michael.hoernlein@alston.com
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Patricia Brown Holmes
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Defendant
 Optuminsight, Inc.                                                       represented by Lucas Thor Rael
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Patricia Brown Holmes
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED


  Date Filed        #    Docket Text
  01/11/2023         1 NOTICE of Removal from Circuit Court of Cook County, IL, case number (2022CH11699) filed by ESI MAIL
                       PHARMACY SERVICE, INC., EXPRESS SCRIPTS PHARMACY, INC., Express Scripts, Inc. Filing fee $ 402, receipt
                       number AILNDC-20227929. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Herrington,
                       Elizabeth) (Entered: 01/11/2023)
  01/11/2023         2 CIVIL Cover Sheet (Herrington, Elizabeth) (Entered: 01/11/2023)
  01/11/2023         3 ATTORNEY Appearance for Defendants ESI MAIL PHARMACY SERVICE, INC., EXPRESS SCRIPTS PHARMACY,
                       INC., Express Scripts, Inc., Evernorth Health, Inc., Medco Health Solutions, Inc., Express Scripts Administrators, LLC by
                       Elizabeth Brooke Herrington (Herrington, Elizabeth) Docket Text Modified by Clerk's Office on 1/18/2023 (ph, ).
                       (Entered: 01/11/2023)
  01/11/2023         4 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by ESI MAIL PHARMACY SERVICE, INC., EXPRESS
                       SCRIPTS PHARMACY, INC., Express Scripts, Inc. (Herrington, Elizabeth) (Entered: 01/11/2023)
  01/11/2023             CASE ASSIGNED to the Honorable Steven C. Seeger. Designated as Magistrate Judge the Honorable Maria Valdez. Case
                         assignment: Random assignment. (mbh, ) (Entered: 01/11/2023)
  01/11/2023         5 ATTORNEY Appearance for Defendants ESI MAIL PHARMACY SERVICE, INC., EXPRESS SCRIPTS PHARMACY,
                       INC., Express Scripts, Inc., Evernorth Health, Inc., Medco Health Solutions, Inc., Express Scripts Administrators, LLC by
                       Patrick A. Harvey (Harvey, Patrick) Docket Text Modified by Clerk's Office on 1/18/2023 (ph, ). (Entered: 01/11/2023)
  01/11/2023         6 ATTORNEY Appearance for Defendants CAREMARKPCS HEALTH, LLC, CVS Health Corporation, CVS Pharmacy,
                       Inc., Caremark RX, LLC, Caremark, LLC. by Elizabeth Zamora Meraz (Meraz, Elizabeth) (Entered: 01/11/2023)



https://ecf.ilnd.uscourts.gov/cgi-bin/DktRpt.pl?129822291016732-L_1_0-1                                                                      10/15
5/9/23, 1:07 PM          Case MDL No. 3080 CM/ECF
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  01/11/2023         7 Supplemental Notice of Removal by CAREMARKPCS HEALTH, LLC (Attachments: # 1 Exhibit)(Meraz, Elizabeth)
                       (Entered: 01/11/2023)
  01/12/2023         8 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by CVS Health Corporation, CVS Pharmacy, Inc., Caremark
                       RX, LLC, Caremark, LLC., CaremarkPCS Health, LLC (Meraz, Elizabeth) (Entered: 01/12/2023)
  01/12/2023             CLERK'S NOTICE: Pursuant to Local Rule 73.1(b), a United States Magistrate Judge of this court is available to conduct
                         all proceedings in this civil action. If all parties consent to have the currently assigned United States Magistrate Judge
                         conduct all proceedings in this case, including trial, the entry of final judgment, and all post-trial proceedings, all parties
                         must sign their names on the attached Consent To form. This consent form is eligible for filing only if executed by all
                         parties. The parties can also express their consent to jurisdiction by a magistrate judge in any joint filing, including the
                         Joint Initial Status Report or proposed Case Management Order. (aee, ) (Entered: 01/12/2023)
  01/13/2023         9 MAILED Notice of Removal letter to counsel of record. (aee, ) (Entered: 01/13/2023)
  01/17/2023        10 ATTORNEY Appearance for Defendant Eli Lilly and Company by James F. Hurst (Hurst, James) (Entered: 01/17/2023)
  01/17/2023        11 ATTORNEY Appearance for Defendant Eli Lilly and Company by Andrew A. Kassof (Kassof, Andrew) (Entered:
                       01/17/2023)
  01/17/2023        12 ATTORNEY Appearance for Defendant Eli Lilly and Company by Diana M. Watral (Watral, Diana) (Entered:
                       01/17/2023)
  01/17/2023        13 ATTORNEY Appearance for Defendant Eli Lilly and Company by Ryan Moorman (Moorman, Ryan) (Entered:
                       01/17/2023)
  01/17/2023        14 Corporate Disclosure STATEMENT by Eli Lilly and Company (Moorman, Ryan) (Entered: 01/17/2023)
  01/17/2023        15 MOTION by Defendant Eli Lilly and Company for extension of time Agreed Motion for An Extension of Time For All
                       Defendants to Answer or Otherwise Respond to Plaintiff's Complaint (Attachments: # 1 Text of Proposed Order)
                       (Moorman, Ryan) (Entered: 01/17/2023)
  01/18/2023        16 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC-20246583. (Attachments: # 1
                       Supplement A - List of Parties, # 2 Supplement B - Bar Membership)(Scherr, Jason) (Entered: 01/18/2023)
  01/18/2023        17 MINUTE entry before the Honorable Steven C. Seeger: Defendant Eli Lilly's motion for an extension of time (Dckt. No.
                       15 ) is hereby granted. The response to the complaint is due by March 6, 2023. This extension of the deadline applies to
                       all Defendants (not simply Eli Lilly). The motion for leave to appear pro hac vice (Dckt. No. 16 ) is granted. Attorney
                       Jason Robert Scherr is added as counsel of record. Mailed notice. (jjr, ) (Docket Text Modified on 1/20/2023) (jjr, ).
                       (Entered: 01/18/2023)
  01/19/2023        18 ATTORNEY Appearance for Defendant Eli Lilly and Company by Jason Adam Feld (Feld, Jason) (Entered: 01/19/2023)
  01/19/2023        19 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC-20255861. Raymond Kennon
                       Poteat III (Attachments: # 1 Exhibit List of Parties, # 2 Exhibit Court & Bar Admissions)(Poteat, Raymond) (Entered:
                       01/19/2023)
  01/20/2023        20 ATTORNEY Appearance for Plaintiff State of Illinois by Tanya Dearman Ellis (Ellis, Tanya) (Entered: 01/20/2023)
  01/20/2023        21 MINUTE entry before the Honorable Steven C. Seeger: The motion for leave to apper pro hac vice (Dckt. No. 19 ) is
                       granted. Attorney Raymond Kennon Poteat, III is added as counsel of record. Mailed notice. (jjr, ) (Entered: 01/20/2023)
  01/25/2023        22 ATTORNEY Appearance for Defendants CVS Health Corporation, CVS Pharmacy, Inc., Caremark RX, LLC, Caremark,
                       LLC., CaremarkPCS Health, LLC by Mckayla Ruth Stokes (Stokes, Mckayla) (Entered: 01/25/2023)
  01/26/2023        23 ATTORNEY Appearance for Plaintiff State of Illinois by Walter G. Watkins, III (Watkins, Walter) (Entered: 01/26/2023)
  01/30/2023        24 MINUTE entry before the Honorable Steven C. Seeger: An initial status report is due by April 17, 2023. Counsel must
                       read the Standing Order entitled "Initial Status Conferences and Joint Initial Status Reports" on the Court's website. The
                       parties must confer as required by Rule 26(f) about the nature, scope, and duration of discovery. The parties must submit
                       two documents to the Court. First, the parties must file the Joint Initial Status Report under Rule 26(f) on the docket. A
                       Word version of the Joint Initial Status Report is available on the Court's website. All parties must participate in the
                       preparation and filing of the Joint Initial Status Report. The Court requires a joint report, so a filing by one side or the
                       other is not sufficient. Second, the parties must email a Word version of a proposed Scheduling Order under Rule 16(b) to
                       the Court's proposed order inbox. Lead counsel for the parties must participate in filing the initial status report. Plaintiff
                       must serve this Order on all other parties. If the defendant has not been served with process, plaintiff's counsel must
                       contact the Courtroom Deputy at jessica_j_ramos@ilnd.uscourts.gov to reschedule the initial status report deadline.
                       Plaintiff should not file the Joint Initial Status Report before the defendant(s) has been served with process. The parties
                       must discuss settlement in good faith and make a serious attempt to resolve this case amicably. All counsel of record must
                       read and comply with this Court's Standing Orders on its webpage. Please pay special attention to the Standing Orders
                       about Depositions and Discovery. Mailed notice. (jjr, ) (Entered: 01/30/2023)
  02/09/2023        25 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC-20334668. Motion (Attachments:
                       # 1 Exhibit Attachment A, # 2 Exhibit Attachment B)(Gazikas, Alexander) (Entered: 02/09/2023)
  02/09/2023        26 MINUTE entry before the Honorable Steven C. Seeger: The motion for leave to appear pro hac vice (Dckt. No. 25 ) is
                       granted. Attorney Alexander Gazikas is added as counsel for CVS Health Corporation, CVS Pharmacy, Inc., Caremark
https://ecf.ilnd.uscourts.gov/cgi-bin/DktRpt.pl?129822291016732-L_1_0-1                                                                              11/15
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                         RX, LLC, Caremark, LLC., and CaremarkPCS Health, LLC. Mailed notice (jjr, ) (Entered: 02/09/2023)
  02/23/2023        27 ATTORNEY Appearance for Defendant Sanofi-Aventis U.S. LLC by Jordan Melissa Matthews (Matthews, Jordan)
                       (Entered: 02/23/2023)
  02/23/2023        28 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Sanofi-Aventis U.S. LLC (Matthews, Jordan) (Entered:
                       02/23/2023)
  02/28/2023        29 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC-20387943. (Attachments: # 1
                       Supplement Admissions)(William, Coglianese) (Entered: 02/28/2023)
  02/28/2023        30 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC-20388480. (Martin, Theresa)
                       (Entered: 02/28/2023)
  02/28/2023        31 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC-20391219. (Attachments: # 1
                       Supplement Admissions)(Franklin, Shirlethia) (Entered: 02/28/2023)
  02/28/2023        32 MOTION by Defendants Eli Lilly and Company, Novo Nordisk Inc., Sanofi-Aventis U.S. LLC for leave to file excess
                       pages (UNCONTESTED MOTION) (Moorman, Ryan) (Entered: 02/28/2023)
  03/01/2023        33 ATTORNEY Appearance for Defendant Novo Nordisk Inc. by Suyash Agrawal (Agrawal, Suyash) (Entered: 03/01/2023)
  03/01/2023        34 ATTORNEY Appearance for Defendant Novo Nordisk Inc. by Paul Berks (Berks, Paul) (Entered: 03/01/2023)
  03/01/2023        35 MINUTE entry before the Honorable Steven C. Seeger: Defendants' motion for extra pages (Dckt. No. 32 ) is hereby
                       granted. Defendants can file a 30-page brief supporting a motion to dismiss. Plaintiff can file a 30-page response.
                       Defendants can file a 15-page reply. Mailed notice (jjr, ) (Entered: 03/01/2023)
  03/01/2023        36 ATTORNEY Appearance for Defendant Optumrx, Inc. by Patricia Brown Holmes (Holmes, Patricia) (Entered:
                       03/01/2023)
  03/01/2023        37 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Optumrx, Inc. (Holmes, Patricia) (Entered: 03/01/2023)
  03/01/2023        38 ATTORNEY Appearance for Defendant Optumrx, Inc. by Lucas Thor Rael (Rael, Lucas) (Entered: 03/01/2023)
  03/02/2023        39 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC-20399036. (Attachments: # 1
                       Attachment A - List of Parties, # 2 Attachment B - Court & Bar Admissions)(Singer, Craig) (Entered: 03/02/2023)
  03/02/2023        40 MINUTE entry before the Honorable Steven C. Seeger: The motion for leave to appear pro hac vice (Dckt. No. 39 ) is
                       granted. Attorney Craig D. Singer is added as counsel for CVS Health Corporation, CVS Pharmacy, Inc., Caremark RX,
                       LLC, Caremark, LLC. and CaremarkPCS Health, LLC. Mailed notice. (jjr, ) (Entered: 03/02/2023)
  03/02/2023        41 MINUTE entry before the Honorable Steven C. Seeger: The motions for leave to appear pro hac vice (Dckt. Nos. 30 and
                       31 ) are granted. Attorney Theresa C. Martin and Shirlethia V. Franklin are added as counsel for Sanofi-Aventis U.S. LLC.
                       Mailed notice. (jjr, ) (Entered: 03/02/2023)
  03/02/2023        42 MOTION by Defendant Optumrx, Inc. for leave to file excess pages (Holmes, Patricia) (Entered: 03/02/2023)
  03/02/2023        43 MINUTE entry before the Honorable Steven C. Seeger: The motion for leave to appear pro hac vice (Dckt. No. 29 ) is
                       granted. Attorney William D. Coglianese is added as counsel for Sanofi-Aventis U.S. LLC. Mailed notice. (jjr, ) (Entered:
                       03/02/2023)
  03/03/2023        44 ATTORNEY Appearance for Plaintiff State of Illinois by Matthew Campbell Mcdonald (Mcdonald, Matthew) (Entered:
                       03/03/2023)
  03/03/2023        45 ATTORNEY Appearance for Defendant Novo Nordisk Inc. by James Paul Rouhandeh (Rouhandeh, James) (Entered:
                       03/03/2023)
  03/03/2023        46 ATTORNEY Appearance for Defendant Novo Nordisk Inc. by Neal Alan Potischman (Potischman, Neal) (Entered:
                       03/03/2023)
  03/03/2023        47 ATTORNEY Appearance for Defendant Novo Nordisk Inc. by Andrew David Yaphe (Yaphe, Andrew) (Entered:
                       03/03/2023)
  03/06/2023        48 MINUTE entry before the Honorable Steven C. Seeger: Defendant Optumrx's motion for excess pages (Dckt. No. 42 ) is
                       hereby granted. Mailed notice (jjr, ) (Entered: 03/06/2023)
  03/06/2023        49 MOTION by Defendants Express Scripts Administrators, LLC, Express Scripts, Inc., Express Scripts Pharmacy, Inc, ESI
                       Mail Pharmacy Service, Inc., Medco Health Solutions, Inc., Evernorth Health, Inc. to dismiss for lack of jurisdiction
                       (Herrington, Elizabeth) (Entered: 03/06/2023)
  03/06/2023        50 MEMORANDUM by ESI Mail Pharmacy Service, Inc., Evernorth Health, Inc., Express Scripts Administrators, LLC,
                       Express Scripts Pharmacy, Inc, Express Scripts, Inc., Medco Health Solutions, Inc. in support of motion to dismiss/lack of
                       jurisdiction, 49 (Attachments: # 1 Exhibit A)(Herrington, Elizabeth) (Entered: 03/06/2023)
  03/06/2023        51 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by ESI Mail Pharmacy Service, Inc., Evernorth Health, Inc.,
                       Express Scripts Administrators, LLC, Express Scripts Pharmacy, Inc, Express Scripts, Inc., Medco Health Solutions, Inc.
                       (Herrington, Elizabeth) (Entered: 03/06/2023)


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  03/06/2023        52 MOTION by Defendant CVS Health Corporation to dismiss for lack of jurisdiction (Meraz, Elizabeth) (Entered:
                       03/06/2023)
  03/06/2023        53 MEMORANDUM by CVS Health Corporation in support of motion to dismiss/lack of jurisdiction 52 (Attachments: # 1
                       Exhibit Declaration of Thomas S. Moffatt)(Meraz, Elizabeth) (Entered: 03/06/2023)
  03/06/2023        54 ATTORNEY Appearance for Defendants Optuminsight, Inc., UnitedHealth Group, Inc. by Patricia Brown Holmes
                       (Holmes, Patricia) (Entered: 03/06/2023)
  03/06/2023        55 MOTION by Defendants Optuminsight, Inc., UnitedHealth Group, Inc. to dismiss for lack of jurisdiction (Holmes,
                       Patricia) (Entered: 03/06/2023)
  03/06/2023        56 MEMORANDUM by Optuminsight, Inc., UnitedHealth Group, Inc. in support of motion to dismiss/lack of jurisdiction
                       55 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Holmes, Patricia) (Entered:
                       03/06/2023)
  03/06/2023        57 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Optuminsight, Inc., UnitedHealth Group, Inc. (Holmes,
                       Patricia) (Entered: 03/06/2023)
  03/06/2023        58 ATTORNEY Appearance for Defendants Optuminsight, Inc., UnitedHealth Group, Inc. by Lucas Thor Rael (Rael, Lucas)
                       (Entered: 03/06/2023)
  03/06/2023        59 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendants Eli Lilly and Company, Novo Nordisk
                       Inc., Sanofi-Aventis U.S. LLC (Moorman, Ryan) (Entered: 03/06/2023)
  03/06/2023        60 MEMORANDUM by Eli Lilly and Company, Novo Nordisk Inc., Sanofi-Aventis U.S. LLC in support of Motion to
                       Dismiss for Failure to State a Claim 59 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)
                       (Moorman, Ryan) (Entered: 03/06/2023)
  03/06/2023        61 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendants CVS Health Corporation, CVS Pharmacy,
                       Inc., Caremark RX, LLC, Caremark, LLC., CaremarkPCS Health, LLC, ESI Mail Pharmacy Service, Inc., Evernorth
                       Health, Inc., Express Scripts Administrators, LLC, Express Scripts Pharmacy, Inc, Express Scripts, Inc., Medco Health
                       Solutions, Inc., Optuminsight, Inc., Optumrx, Inc., UnitedHealth Group, Inc. (Holmes, Patricia) (Entered: 03/06/2023)
  03/06/2023        62 MEMORANDUM by CVS Health Corporation, CVS Pharmacy, Inc., Caremark RX, LLC, Caremark, LLC.,
                       CaremarkPCS Health, LLC, ESI Mail Pharmacy Service, Inc., Evernorth Health, Inc., Express Scripts Administrators,
                       LLC, Express Scripts Pharmacy, Inc, Express Scripts, Inc., Medco Health Solutions, Inc., Optuminsight, Inc., Optumrx,
                       Inc., UnitedHealth Group, Inc. in support of Motion to Dismiss for Failure to State a Claim, 61 (Attachments: # 1 Exhibit
                       A, # 2 Exhibit B)(Holmes, Patricia) (Entered: 03/06/2023)
  03/09/2023        63 MINUTE entry before the Honorable Steven C. Seeger: The Court sets the following briefing schedule on defendants
                       motions to dismiss (Dckt. Nos. 49 , 52 , 55 , 59 , 61 ). Responses are due by April 6, 2023 and replies due by April 20,
                       2023. Mailed notice. (jjr, ) (Entered: 03/09/2023)
  03/10/2023        64 MOTION by Defendant Optumrx, Inc.Admission Pro Hac Vice of Michael R. Hoernlein (Receipt Tracking ID: AILNDC-
                       20428085 (Attachments: # 1 Exhibit Receipt of Payment of Pro Hac Vice Fee)(Hoernlein, Michael) (Entered: 03/10/2023)
  03/10/2023        65 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC-20428638. for Defendant
                       OptumRx, Inc. (Hair, Kyle) (Entered: 03/10/2023)
  03/13/2023        66 MINUTE entry before the Honorable Steven C. Seeger: The motion for leave to appear pro hac vice (Dckt. No. 65 ) is
                       granted. Attorney Kyle Hair is added as counsel for Optumrx, Inc. Mailed notice. (jjr, ) (Entered: 03/13/2023)
  03/13/2023        67 MINUTE entry before the Honorable Steven C. Seeger: The motion for leave to appear pro hac vice (Dckt. No. 64 ) is
                       granted. Attorney Michael Roger Hoernlein is added as counsel for OptumRx, Inc. Mailed notice. (jjr, ) (Entered:
                       03/13/2023)
  03/14/2023        68 MOTION by Defendant Optumrx, Inc.Admission Pro Hac Vice of Jordan Elise Edwards (Attachments: # 1 Exhibit
                       Receipt Tracking ID: AILNDC-20439397)(Edwards, Jordan) (Entered: 03/14/2023)
  03/15/2023        69 MINUTE entry before the Honorable Steven C. Seeger: The motion for leave to appear pro hac vice (Dckt. No. 68 ) is
                       granted. Attorney Jordan Webber Edwards is added as counsel for OptumRx, Inc. Mailed notice. (jjr, ) (Entered:
                       03/15/2023)
  03/15/2023        70 MOTION by Defendant Optumrx, Inc.Admission Pro Hac Vice of Elizabeth Broadway Brown (Attachments: # 1 Exhibit
                       Receipt Tracking ID: AILNDC-20444114)(Brown, Elizabeth) (Entered: 03/15/2023)
  03/20/2023        71 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Novo Nordisk Inc. (Agrawal, Suyash) (Entered: 03/20/2023)
  03/21/2023        72 MINUTE entry before the Honorable Steven C. Seeger: The motion for leave to appear pro hac vice (Dckt. No. 70 ) is
                       granted. Attorney Elizabeth Broadway Brown is added as counsel for Optumrx, Inc. Mailed notice. (jjr, ) (Entered:
                       03/21/2023)
  03/28/2023        73 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC-20486736. (Attachments: # 1
                       Supplement Attachment A - List of Parties, # 2 Supplement Attachment B - Court Admissions)(Podoll, Adam) (Entered:
                       03/28/2023)


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  03/29/2023        74 MINUTE entry before the Honorable Steven C. Seeger: The motion for leave to appear pro hac vice (Dckt. No. 73 ) is
                       granted. Attorney Adam Joshua Podoll is added as counsel for CVS Health Corporation, CVS Pharmacy, Inc., Caremark
                       RX, LLC, Caremark, LLC and CaremarkPCS Health, LLC. Mailed notice. (jjr, ) (Entered: 03/29/2023)
  03/31/2023        75 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC-20500398. (Daniel, Dockery)
                       (Entered: 03/31/2023)
  04/03/2023        76 Motion for Admission Pro Hac Vice by Optumrx, Inc. for Brian David Boone (Attachments: # 1 Exhibit Filing Receipt
                       ID: AILNDC-20505249)(Boone, Brian) (Entered: 04/03/2023)
  04/05/2023        77 MOTION by Plaintiff State of Illinois for leave to file excess pages for its briefs in opposition to PBM Defendants'
                       Motions to Dismiss (Ellis, Tanya) (Entered: 04/05/2023)
  04/05/2023        78 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC-20511420. (Cicala, Joanne)
                       (Entered: 04/05/2023)
  04/05/2023        79 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC-20511467. (Wackerly, Josh)
                       (Entered: 04/05/2023)
  04/05/2023        80 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC-20511498. (Conrod, R.) (Entered:
                       04/05/2023)
  04/05/2023        81 MINUTE entry before the Honorable Steven C. Seeger: The motions for leave to appear pro hac vice (Dckt. No. 78 , 79
                       and 80 ) are granted. Attorney Joanne M. Cicala,Josh T. Wackerly, and R. Johan Conrod are added as counsel of record.
                       Mailed notice. (jjr, ) (Entered: 04/05/2023)
  04/06/2023        82 MINUTE entry before the Honorable Steven C. Seeger: Plaintiff's uncontested motion to extend the page limits (Dckt.
                       No. 77 ) is granted. Mailed notice (jjr, ) (Entered: 04/06/2023)
  04/06/2023        83 MEMORANDUM by State of Illinois in Opposition to motion to dismiss/lack of jurisdiction 55 (Ellis, Tanya) (Entered:
                       04/06/2023)
  04/06/2023        84 MEMORANDUM by State of Illinois in Opposition to motion to dismiss/lack of jurisdiction, 49 (Attachments: # 1
                       Exhibit)(Ellis, Tanya) (Entered: 04/06/2023)
  04/06/2023        85 MEMORANDUM by State of Illinois in Opposition to motion to dismiss/lack of jurisdiction 52 (Attachments: # 1
                       Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit)(Ellis, Tanya) (Entered: 04/06/2023)
  04/06/2023        86 RESPONSE by State of Illinois in Opposition to MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by
                       Defendants Eli Lilly and Company, Novo Nordisk Inc., Sanofi-Aventis U.S. LLC 59 (Attachments: # 1 Exhibit A)
                       (Wackerly, Josh) (Entered: 04/06/2023)
  04/06/2023        87 RESPONSE by State of Illinois in Opposition to MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by
                       Defendants CVS Health Corporation, CVS Pharmacy, Inc., Caremark RX, LLC, Caremark, LLC., CaremarkPCS Health,
                       LLC, ESI Mail Pharmacy Service, Inc., Evernorth Health, Inc., Express Scripts Administrators 61 (Attachments: # 1
                       Exhibit A)(Wackerly, Josh) (Entered: 04/06/2023)
  04/07/2023        88 MOTION by Defendant Optumrx, Inc.Admission Pro Hac Vice of Brian David Boone (Attachments: # 1 Exhibit Receipt
                       Tracking ID: AILNDC-20505249)(Boone, Brian) (Entered: 04/07/2023)
  04/07/2023        89 MINUTE entry before the Honorable Steven C. Seeger: The motion for leave to appear to appear pro hac vice (Dckt. No.
                       88 ) is granted. Attorney Brian David Boone is added as counsel for Optumrx, Inc. Mailed notice. (jjr, ) (Entered:
                       04/07/2023)
  04/07/2023        90 ATTORNEY Appearance for Plaintiff State of Illinois by William Lawrence Deas (Deas, William) (Entered: 04/07/2023)
  04/11/2023        91 Cross Notice of Deposition of Kevin Wessels by Caremark RX, LLC, Caremark, LLC., CaremarkPCS Health, LLC
                       (Attachments: # 1 Exhibit 1 - Notice of Intent to Take Kevin Wessels Depo)(Meraz, Elizabeth) (Entered: 04/11/2023)
  04/14/2023        92 ATTORNEY Appearance for Plaintiff State of Illinois by William Liston, Iii (Liston, Iii, William) (Entered: 04/14/2023)
  04/17/2023        93 REPORT of Rule 26(f) Planning Meeting by State of Illinois (Attachments: # 1 Exhibit List of Cases)(Ellis, Tanya)
                       (Entered: 04/17/2023)
  04/18/2023        94 MINUTE entry before the Honorable Steven C. Seeger: The Court reviewed the joint initial status report. (Dckt. No. 93 )
                       The Court adopts the proposed schedule. Fact discovery will close on April 1, 2024. Scheduling Order to follow. This
                       case is one of a handful of cases brought by Attorneys General across the country, including cases in Mississippi,
                       Arkansas, Montana, and Kansas, about insulin pricing. The Court directs the parties to work together cooperatively, and
                       make every effort to avoid unnecessary duplication of discovery. Take reasonable steps to minimize costs and streamline
                       the fact-gathering process. In particular, the Court directs the parties to discuss steps that they can take to avoid repeated
                       depositions of the same witnesses on the same topics. Under Rule 30(a)(2)(A)(i), the Court grants each side leave to take
                       up to 30 depositions, including Rule 30(b)(6) depositions. The Court reminds counsel to read this Court's Standing Order
                       on Depositions, which is available on the Court's webpage. Mailed notice. (jjr, ) (Entered: 04/18/2023)
  04/18/2023        95 SCHEDULING ORDER UNDER RULE 16(b) Signed by the Honorable Steven C. Seeger on 4/18/2023. Mailed notice.
                       (jjr, ) (Entered: 04/18/2023)


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  04/18/2023        96 MOTION by Defendants CVS Health Corporation, CVS Pharmacy, Inc., Caremark RX, LLC, Caremark, LLC.,
                       CaremarkPCS Health, LLC, ESI Mail Pharmacy Service, Inc., Eli Lilly and Company, Evernorth Health, Inc., Express
                       Scripts Administrators, LLC, Express Scripts Pharmacy, Inc, Express Scripts, Inc., Medco Health Solutions, Inc., Novo
                       Nordisk Inc., Optuminsight, Inc., Optumrx, Inc., Sanofi-Aventis U.S. LLC, UnitedHealth Group, Inc. for extension of
                       time to file response/reply as to set motion and R&R deadlines/hearings, 63 (Unopposed Motion) (Moorman, Ryan)
                       (Entered: 04/18/2023)
  04/19/2023        97 MINUTE entry before the Honorable Steven C. Seeger: The motion for leave to appear pro hac vice (Dckt. No. 75 ) is
                       granted. Attorney Dockery M. Daniel is added as counsel of record. Mailed notice. (jjr, ) (Entered: 04/19/2023)
  04/19/2023        98 MINUTE entry before the Honorable Steven C. Seeger: Defendants' unopposed motion for an extension of time to file
                       reply briefs (Dckt. No. 96 ) is hereby granted. Reply briefs are due by May 4, 2023. Mailed notice. (jjr, ) (Entered:
                       04/19/2023)
  04/21/2023        99 MINUTE entry before the Honorable Steven C. Seeger: Defense counsel attached a certificate of service to their filing,
                       which certified that the motion "was served upon counsel of record at the addresses indicated by CM/ECF electronic
                       notification." (Dckt. No. 96 ) That wasn't necessary. There is no need to file a certificate of service on CM/ECF
                       confirming that everyone was served by CM/ECF. The header on a court filing confirms that the document was filed on
                       CM/ECF, and that header is confirmation that everyone on CM/ECF received a copy. The Federal Rules and the Local
                       Rules do not require a certificate of service for filings through CM/ECF when everyone has filed an appearance on
                       CM/ECF. In fact, Local Rule 5.5(a) provides: "A certificate of service is required only when service of a document filed
                       on the Court's E-Filing system is made on a recipient who is not an E-Filer listed on the docket of the proceeding." If
                       everyone receives a copy through CM/ECF, a certificate of service adds nothing, except maybe a moderate headache or
                       another hoop to jump through. So, going forward, save yourself the trouble. Emailed notice (cdh, ) (Entered: 04/21/2023)
  05/04/2023       100 REPLY by CVS Health Corporation to MOTION by Defendant CVS Health Corporation to dismiss for lack of
                       jurisdiction 52 , memorandum in support of motion 53 (Attachments: # 1 Exhibit)(Meraz, Elizabeth) (Entered:
                       05/04/2023)
  05/04/2023       101 REPLY by Defendants Optuminsight, Inc., UnitedHealth Group, Inc. to memorandum in support of motion 56 , motion to
                       dismiss/lack of jurisdiction 55 (Holmes, Patricia) (Entered: 05/04/2023)
  05/04/2023       102 REPLY by Defendant Evernorth Health, Inc. to motion to dismiss/lack of jurisdiction, 49 (Attachments: # 1 Declaration
                       of Jason R. Scherr, # 2 Exhibit 1)(Herrington, Elizabeth) (Entered: 05/04/2023)
  05/04/2023       103 REPLY by Defendants CVS Health Corporation, CVS Pharmacy, Inc., Caremark RX, LLC, Caremark, LLC.,
                       CaremarkPCS Health, LLC, ESI Mail Pharmacy Service, Inc., Evernorth Health, Inc., Express Scripts Administrators,
                       LLC, Express Scripts Pharmacy, Inc, Express Scripts, Inc., Medco Health Solutions, Inc., Optuminsight, Inc., Optumrx,
                       Inc., UnitedHealth Group, Inc. to Motion to Dismiss for Failure to State a Claim, 61 , memorandum in support of motion,,
                       62 (Attachments: # 1 Exhibit A)(Holmes, Patricia) (Entered: 05/04/2023)
  05/04/2023       104 REPLY by Defendants Eli Lilly and Company, Novo Nordisk Inc., Sanofi-Aventis U.S. LLC to memorandum in support
                       of motion, 60 , Motion to Dismiss for Failure to State a Claim 59 (Moorman, Ryan) (Entered: 05/04/2023)



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                                             THE STATE OF ILLINOIS, BY
                                             KWAME RAOUL, ILLINOIS
                                             ATTORNEY GENERAL
                                                        PLAINTIFF,

                                                        V.

                                             ELI LILLY AND COMPANY; NOVO
                                             NORDISK INC.; SANOFI-AVENTIS
                                             U.S. LLC; EVERNORTH HEALTH,
                                             INC. (FORMERLY EXPRESS SCRIPTS
                                             HOLDING COMPANY); EXPRESS                     Case No.   2022CH11699
                                             SCRIPTS, INC.; EXPRESS SCRIPTS
                                             ADMINISTRATORS, LLC; ESI MAIL
                                             PHARMACY SERVICE, INC.;
                                             EXPRESS SCRIPTS PHARMACY, INC.;
                                             MEDCO HEALTH SOLUTIONS, INC;
                                             CVS HEALTH CORPORATION; CVS
                                             PHARMACY, INC; CAREMARK RX,
                                             L.L.C.; CAREMARKPCS HEALTH,
                                             L.L.C.; CAREMARK, L.L.C.;
                                             UNITEDHEALTH GROUP, INC.;
                                             OPTUMRX INC.; AND
                                             OPTUMINSIGHT, INC.

                                                        DEFENDANTS.




                                                                      COMPLAINT
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                                                    The Honorable Kwame Raoul, Attorney General, brings this action for

                                             injunctive and other relief against Defendants on behalf of the People of the State of
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                                             Illinois                             for violations of the Illinois Consumer Fraud and

                                                                                                                             et seq., the



                                             ILCS 510/1 et seq., and the Illinois common law.

                                                                                    INTRODUCTION

                                                    1.      Diabetes is an epidemic and a public health crisis in Illinois. Illinois has

                                             a high prevalence of diabetes with approximately 13% of its population         1.3 million

                                             people living with diabetes. An additional 3.6 million Illinois residents have

                                                                                                                       it should be and

                                             signifies that the person is at greater risk for developing diabetes.

                                                    2.      Diabetes is the leading cause of blindness, kidney failure, and lower limb

                                             amputations and is the seventh leading cause of death in Illinois despite the

                                             availability of effective treatment. Approximately 20% of all hospitalizations in Illinois

                                             are attributable to diabetes.

                                                    3.      The economic impact of diabetes is staggering. The total estimated cost

                                             of diagnosed diabetes in Illinois is $12 billion per year. One in four health care dollars

                                             is spent caring for people with diabetes.

                                                    4.      Approximately half a million diabetics in Illinois rely on daily insulin

                                             treatments to survive, and over a million diabetics in Illinois use either oral

                                             medications, insulin or a combination of both to treat and control diabetes.
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                                                   5.      Defendants       Eli   Lilly,   Novo   Nordisk   and   Sanofi   (collectively,
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                                             insulins and other diabetic medications available in Illinois.

                                                   6.      Defendants CVS Caremark, Express Scripts, and OptumRx

                                                                        collectively dominate the pricing system for the at-issue

                                             drugs.1 Their dominance results from the reality that these three corporate actors are,

                                             at once (1) the largest pharmacy benefit managers in the United States and in Illinois

                                             (controlling approximately 80% of the PBM market) and (2) the largest pharmacies in

                                             the United States and in Illinois (making up 3 of the top 5 dispensing pharmacies in

                                             the U.S.). These PBM conglomerates sit at 4th (CVS Caremark), 5th (OptumRx) and

                                             12th (Express Scripts) on the Fortune 500 list ranking largest corporations by

                                             revenue.

                                                   7.      As part of their work, PBM Defendants establish standard formulary

                                             offerings (i.e., approved drug lists). If a drug is not included on a formulary, then it is

                                             not covered by health insurance.

                                                   8.      PBM Defendants understand that their standard formulary offerings

                                             drive drug utilization.

                                                   9.      Because the three PBM Defendants control 80% of the pharmacy benefit

                                             market, unless they include a drug on one of their standard formularies, it is not

                                             available to 80% of Illinois



                                             1                                       -
                                             Trulicity, Basaglar, Lantus, Toujeo, Apidra, Soliqua, Novolin R, Novolin N, Novolog,
                                             Levemir, Tresiba, Victoza, and Ozempic.


                                                                                            2
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                                                   10.      The   Manufacturers   likewise

                                             formularies drive drug sales if Manufacturers want their drugs to be prescribed and
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                                             formularies.

                                                   11.

                                             formularies play in the pharmaceutical pricing chain, both Defendant groups

                                             understand that the PBM Defendants wield enormous control over drug prices and

                                             drug purchasing behavior.

                                                   12.      The unfair and deceptive scheme at the root of this Complaint       the

                                             Insulin Pricing Scheme     was born from this mutual understanding

                                                   13.      Over the course of the last fifteen years, and pursuant to the Insulin

                                             Pricing Scheme, Manufacturer Defendants have persistently raised the prices of their

                                             respective diabetes drugs in a lockstep manner despite the fact that the cost to produce

                                             these drugs has decreased during that same time period.

                                                   14.      Insulins, which today cost Manufacturer Defendants less than $2 per

                                             unit to produce and which were originally priced at $20 per unit when released in the

                                             late 1990s, now range between $300 and $700 per unit.

                                                   15.      In the last decade alone, Manufacturer Defendants have in tandem

                                             increased the prices of their insulins up to 1000%, often down to the decimal point

                                             within a few days of each other.




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                                                   16.   Figure 1 illustrates the rate in which Defendant Eli Lilly raised the price

                                             of its analog insulin, Humalog, compared to the rate of inflation for other consumer
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                                             goods and services from 1997-2018.




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                                              Figure 1: Price Increase of Insulin vs. Selected Consumer
                                                                        Goods
                                                                    from 1997-2018
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                                                    17.    Remarkably, nothing about these medications has
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                                             insulin is the exact drug Defendants originally sold for $20.

                                                    18.    The current unlawfully inflated price stands in stark contrast to



                                             medication would remain affordable. Today, insulin has become the poster child for

                                             skyrocketing and inflated drug prices.

                                                    19.    Both Manufacturer and PBM Defendants play vital roles and profit

                                             immensely from the Insulin Pricing Scheme and the artificially inflated prices

                                             produced by it.

                                                    20.    Specifically, the Insulin Pricing Scheme works as follows: first, to gain

                                             formulary access from the PBM Defendants for their diabetic treatments,

                                             Manufacturer Defendants artificially and willingly raise their list prices, and then pay

                                             a significant, yet undisclosed, portion of that price back to the PBMs. These

                                             Manufacturer Payments2 are provided under a variety of labels, yet, however they are




                                             2 In the context of this Complaint, the
                                             payments or financial benefits of any kind conferred by the Manufacturer Defendants to PBM
                                             Defendants (or a subsidiary, affiliated entity, or group purchasing organization or rebate
                                             aggregator acting on the PB
                                             Manufacturer-controlled intermediaries. Manufacturer Payments include rebates,
                                             administrative fees, inflation fees, pharmacy supplemental discounts, volume discounts,
                                             price or margin guarantees, price concessions, indirect purchase fees and rebates, and any
                                             other form of consideration exchanged. This broad definition is necessary because PBMs
                                             historically have continued to change and evolve the nature of their payment streams to avoid
                                             disclosure to clients and disclosure pursuant to state transparency laws. While the route by
                                             which the payment streams reach the PBMs has evolved, the fact that the payments do, in
                                             fact, reach the PBMs has remained the same.


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                                             described, these Manufacturer Payments, along with the inflated list prices, are quid

                                             pro quo for formular                                              .
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                                                   21.    The list prices for the at-issue drugs have become so untethered from the

                                             net prices3 realized by the Manufacturers as to constitute a false price.

                                                   22.    PBMs then grant preferred status on their standard formularies based

                                             upon the largest Manufacturer Payment and the highest inflated list price which the

                                             PBMs know to be artificially inflated and which the PBMs insist that their health plan

                                             payor clients use as the basis for the price they pay for the at-issue drugs.

                                                   23.

                                             Defendants. Manufacturer Defendants are able to make these undisclosed

                                             Manufacturer Payments to buy preferred formulary position             which significantly

                                             increases their revenue   without sacrificing their profits.

                                                   24.    PBM Defendants profit off the inflated list prices that result from the

                                             scheme in numerous ways, including: (1) retaining a significant        yet undisclosed

                                             percentage of the Manufacturer Payments, either directly or through wholly owned

                                             rebate aggregators, (2) using the inflated list price produced by the Insulin Pricing

                                             Scheme to generate profits from pharmacies in their networks and (3) relying on those

                                             same inflated                                                           own pharmacies.

                                                   25.    Thus, while the PBM Defendants represent both publicly and to their

                                             health plan clients that they use their market power to drive down prices for diabetes




                                             3Net prices refer to the prices received by the Manufacturers after all Manufacturer
                                             Payments are subtracted out.


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                                             medications, these representations are patently false and intended to be deceptive and

                                             misleading.
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                                                   26.     Rather, the PBMs are intentionally driving up the price of the at-issue

                                             drugs. Indeed, the Manufacturer Payments the PBMs receive in exchange for



                                             directly responsible for the skyrocketing price of the at-issue diabetes medications.

                                                   27.     Because the price paid by nearly every diabetic and payor is based upon

                                             the artificially inflated                                                   the Insulin

                                             Pricing Scheme directly harms every diabetic and payor in Illinois who purchase these

                                             life-sustaining drugs.

                                                   28.     The consequence to Illinois public health and the public fisc from the

                                             outrageous price increases caused by the Insulin Pricing Scheme cannot be overstated.

                                                   29.     Illinois diabetics have also been overcharged millions of dollars a year in

                                             out-of-pocket costs as a result of the Insulin Pricing Scheme.

                                                   30.     For Illinois diabetics, the physical, emotional, and financial tolls of

                                             paying such excessive prices for diabetes medications is devastating. Unable to afford

                                             the drugs their doctors prescribe, many diabetics in Illinois ration or under-dose their

                                             insulin, inject expired insulin, reuse needles, and starve themselves to control their

                                             blood sugars. This behavior is extremely dangerous and has led to serious

                                             complications or even death.

                                                   31.     In addition to the immeasurable human costs, the Insulin Pricing

                                             Scheme also adds substantial costs to the Illinois health care system by increasing




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                                             preventable complications. For example, one national model found that all people with

                                             diabetes adhering to their diabetes medications would save $8.3 billion in direct
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                                             medical costs per year by averting one million emergency department visits and

                                             618,000 hospitalizations.

                                                   32.      The State shoulders the burden for much of these increased healthcare

                                             costs, spending billions of dollars annually in healthcare related costs for diabetes and

                                             diabetes-associated complications. The amount the State has spent on diabetes related

                                             costs has steadily increased throughout the relevant time period and could grow

                                             exponentially in the near future given the high prevalence of prediabetes in Illinois.

                                                   33.      Insulin rationing and the        resulting otherwise-avoidable health

                                             complications caused by the Insulin Pricing Scheme also leads to a loss in productivity

                                             and tax revenue, further damaging the State.

                                                   34.      The Honorable Kwame Raoul, Attorney General, brings this action on

                                             behalf of the State of Illinois to protect the health and economic well-being of the State

                                             as a whole and the heath and economic well-being of Illinois residents.

                                                   35.      The relevant period for this Complaint is from 2003 continuing through

                                             the present.

                                                                                       PARTIES

                                                   A.       Plaintiff

                                                   36.      Plaintiff, the People of the State of Illinois, by the Honorable

                                             Kwame Raoul, Attorney General of the State of Illinois, is authorized to enforce the

                                             provisions of the Illinois Consumer Fraud Act, 815 ILCS 505/7(a).




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                                                    37.    By virtue of his office as the chief legal officer for the State of Illinois,

                                             Attorney General Raoul works to safeguard, protect and preserve the health, safety,
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                                             and welfare of the citizens of Illinois. The Attorney General institutes this action to

                                                                                            health, safety and economic wellbeing of

                                             its residents and the integrity of its marketplace, including its healthcare system.

                                                    B.     Manufacturer Defendants

                                                    38.                                                               ) is an Indiana

                                             corporation with its principal place of business at Lilly Corporate Center,

                                             Indianapolis, Indiana 46285.

                                                    39.    Eli Lilly is registered to do business in Illinois and may be served through

                                             its registered agent: National Registered Agents Inc., 208 South LaSalle Street, Suite

                                             814, Chicago, Illinois 60604.

                                                    40.    Eli Lilly holds four active wholesale drug distributor licenses and an

                                             active controlled substance drug distribution license in Illinois.

                                                    41.    These licenses allow Eli Lilly to manufacture, distribute, and sell its at-

                                             issue drugs in Illinois.

                                                    42.    In Illinois, Eli Lilly promotes and distributes several at-issue diabetes

                                             medications: Humulin N, Humulin R, Humalog, Trulicity, and Basaglar.

                                                    43.                                                                             2.82

                                             billion from Humalog, $1.29 billion from Humulin, and $1.11 billion from Basaglar.

                                                    44.

                                             billion from Humalog, $1.33 billion from Humulin, and $801 million from Basaglar.




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                                                       45.   Eli Lilly transacts business in Illinois including relating to its at-issue

                                             diabetes medications.
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                                                       46.   Eli Lilly employs sales representatives throughout Illinois to promote

                                             and sell Humulin N, Humulin R, Humalog, Trulicity and Basaglar.

                                                       47.   Eli Lilly also directs advertising and informational materials to Illinois

                                             physicians, payors, pharmacies, and diabetics for the specific purpose of selling more

                                             of the at-issue drugs in Illinois and profiting from the Insulin Pricing Scheme.

                                                       48.   At all times relevant hereto, in furtherance of the Insulin Pricing

                                             Scheme, Eli Lilly caused its artificially inflated list prices for the at-issue diabetes

                                             medications to be published throughout Illinois with the express knowledge that

                                             Illinois diabetics               payments and reimbursements would be based on those

                                             prices.

                                                       49.   During the relevant time period, diabetics in Illinois spent millions of

                                                                                               -

                                             artificially inflated list prices.

                                                       50.   Illinois diabetics and payors paid for all of the Eli Lilly diabetes

                                             medications related to the at-issue drug transactions in Illinois based on the specific

                                             inflated list prices Eli Lilly caused to be published in Illinois in furtherance of the

                                             Insulin Pricing Scheme.

                                                       51.   Defendant Sanofi-                                    is a Delaware limited

                                             liability company with its principal place of business at 55 Corporate Drive,

                                             Bridgewater, New Jersey 08807.




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                                                    52.    Sanofi may be served through its registered agent: Corporation Service

                                             Company, 251 Little Falls Drive, Wilmington, Delaware 19808.
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                                                    53.    Sanofi holds three active wholesale drug distributor licenses and an

                                             active controlled substance drug distribution license in Illinois.

                                                    54.    These licenses allow Sanofi to manufacture, distribute, and sell its at-

                                             issue drugs in Illinois.

                                                    55.    Sanofi promotes and distributes pharmaceutical drugs in Illinois,

                                             including several at-issue diabetes medications: Lantus, Toujeo, Soliqua, and Apidra.

                                                    56.

                                             $1.03 billion from Toujeo, $400 million from Apidra, and $144 million from Soliqua.

                                                    57.

                                             million from Toujeo, $389 million from Apidra, and $86 million from Soliqua.

                                                    58.    Sanofi transacts business in Illinois including relating to its at-issue

                                             diabetes medications.

                                                    59.    Sanofi employs sales representatives throughout Illinois to promote and

                                             sell Lantus, Toujeo, Soliqua, and Apidra.

                                                    60.    Sanofi also directs advertising and informational materials to Illinois

                                             physicians, payors, pharmacies, and diabetics for the specific purpose of selling more

                                             of the at-issue drugs in Illinois and profiting from the Insulin Pricing Scheme.

                                                    61.    At all times relevant hereto, in furtherance of the Insulin Pricing

                                             Scheme, Sanofi caused its artificially inflated list prices for the at-issue diabetes

                                             medications to be published throughout Illinois with the express knowledge that




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                                             payment and reimbursement by Illinois diabetics and payors would be based on these

                                             prices.
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                                                       62.   During the relevant time period, diabetics in Illinois spent millions of

                                             dollars per year                                  -

                                             artificially inflated list prices.

                                                       63.   Illinois diabetics and payors paid for all of the Sanofi diabetes

                                             medications related to the at-issue drug transactions in Illinois based on the specific

                                             inflated prices Sanofi caused to be published in Illinois in furtherance of the Insulin

                                             Pricing Scheme.

                                                       64.                                                            is a Delaware

                                             corporation with its principal place of business at 800 Scudders Mill Road, Plainsboro,

                                             New Jersey 08536.

                                                       65.   Novo Nordisk is registered to do business in Illinois and may be served

                                             through its registered agent: CT Corporation System, 208 South LaSalle Street, Suite

                                             814, Chicago, Illinois 60604.

                                                       66.   Novo Nordisk promotes and distributes pharmaceutical drugs in Illinois,

                                             including at-issue diabetic medications: Novolin R, Novolin N, Novolog, Levemir,

                                             Tresiba, Victoza, and Ozempic.

                                                       67.   Novo N

                                             $973 million from Levemir, $968 million from Tresiba, $2.29 billion from Victoza, and

                                             $1.17 billion from Ozempic.




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                                                   68.

                                             $1.66 billion from Levemir, $1.19 billion from Tresiba, $3.61 billion from Victoza, and
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                                             $185 million from Ozempic.

                                                   69.      Novo Nordisk transacts business in Illinois including relating to its at-

                                             issue diabetes medications.

                                                   70.      Novo Nordisk employs sales representatives throughout Illinois to

                                             promote and sell Novolin R, Novolin N, Novolog, Levemir, Tresiba, Victoza, and

                                             Ozempic.

                                                   71.      Novo Nordisk also directs advertising and informational materials to

                                             Illinois physicians, payors, pharmacies, and diabetics for the specific purpose of selling

                                             more of the at-issue drugs in Illinois and profiting from the Insulin Pricing Scheme.

                                                   72.      At all times relevant hereto, in furtherance of the Insulin Pricing

                                             Scheme, Novo Nordisk caused its artificially inflated list prices for the at-issue

                                             diabetes medications to be published throughout Illinois with the express knowledge

                                             that Illinois diabetics and payors paid for the at-issue drugs based on these prices.

                                                   73.      During the relevant time period, diabetics in Illinois spent millions of

                                             dollars per                                            -issue drugs also based on Novo

                                                         artificially inflated list prices.

                                                   74.      Illinois diabetics and payors paid for all of the Novo Nordisk diabetes

                                             medications related to the at-issue drug transactions in Illinois based on the specific

                                             inflated prices Sanofi caused to be published in Illinois in furtherance of the Insulin

                                             Pricing Scheme.




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                                                     75.   Collectively, Defendants Eli Lilly, Novo Nordisk, and Sanofi are referred
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                                                     C.    PBM Defendants

                                                     76.   Defendant CVS Health Corporation                           is a Delaware

                                             corporation with its principal place of business at One CVS Drive, Woonsocket, Rhode

                                             Island 02895. CVS Health transacts business and has locations throughout the United

                                             States and Illinois.

                                                     77.   CVS Health may be served through its registered agent: The Corporation

                                             Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

                                             Delaware 19801.

                                                     78.   CVS Health, through its executives and employees, including its CEO,

                                             Chief Medical Officer, Executive Vice Presidents, Senior Executives in Trade Finance,

                                             and Chief Communication Officers, is directly involved in the PBM services and

                                             formulary construction related to the Insulin Pricing Scheme that gave rise to the

                                             State

                                                     79.   During the relevant time, CVS Health (or its predecessor)4 has

                                             repeatedly, continuously, and explicitly stated that CVS Health:



                                                                                                     5




                                             4

                                             Caremark Corporation announced that it is changing its corporate name to CVS Health to
                                             reflect its broader health care commitment and its expertise in driving the innovations

                                             5 CVS Caremark/CVS Health, Annual Reports (Form 10-K) (Dec. 31, 2009-2019).




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                                                                      ate[s] with pharmaceutical companies to obtain discounted

                                                              lists, and these negotiated discounts enable [CVS Health] to offer
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                                                                                         6



                                                                                                f doctors, pharmacists and other
                                                              medical experts, referred to as its Pharmacy and Therapeutics
                                                              Committee, to select drugs that meet the highest standards of safety
                                                                                                                    7



                                                    80.    CVS Health publicly represents that CVS Health constructs programs

                                             that lower the cost of the at-issue diabetes medications. For example, in 2016, CVS



                                             available in all states, including Illinois, stating:

                                                     CVS Health
                                                    pharmacy benefit management (PBM) clients to improve the health
                                                    outcomes of their members, lower pharmacy costs [for diabetes
                                                    medications] through aggressive trend management and decrease
                                                    medical costs . . . [and that] participating clients could save between
                                                    $3000 to $5000 per year for each member who successfully improves
                                                    control of their diabetes

                                                    81.    In 2017, CVS Health stated                CVS Health pharmacy benefit

                                             management (PBM) strategies reduced trend for commercial clients to 1.9 percent per

                                             member per year the lowest in five years. Despite manufacturer price increases of

                                             near 10 percent, CVS Health kept drug price growth at a minimal 0.2 perc

                                                    82.    Throughout the relevant time period, the Manufacturer Defendants

                                             directly engaged with CVS Health executives in furtherance of the Insulin Pricing

                                             Scheme. Each Manufacturer Defendant has an entire team of executives dedicated

                                             exclusively to interacting with CVS Health.


                                             6 CVS Caremark/CVS Health, Annual Reports (Form 10-K) (Dec. 31, 2009-2013).
                                             7 CVS Caremark/CVS Health, Annual Reports (Form 10-K) (Dec. 31, 2009-2019).




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                                                   83.    Manufacturer Defendants have explicitly recognized that effectuating
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                                                         ormulary management initiatives to ensure profitable access across all



                                                   84.    On a regular basis throughout the relevant period, the Manufacturer

                                                                            which at times included their CEOs met with CVS

                                             Health executives to discuss their coordinated efforts related to the at-issue drugs.

                                             Examples include:

                                                             In at least 2011, 2012, 2014, and 2016, the leaders of CVS Health and
                                                             Novo Nordisk participated in executive exchange meetings in
                                                             furtherance of the Insulin Pricing Scheme. These meetings included
                                                             the Executive Vice President of CVS Health, the Chief Medical Officer

                                                             Committee, and key executives from Novo Nordisk.

                                                             In at least 2012, 2013, and 2017, the leaders of CVS Health and Eli
                                                             Lilly participated in numerous executive meetings in furtherance of
                                                             the Insulin Pricing Scheme. These meetings included the CEO of CVS

                                                             Operating Committee, the President of Eli Lilly, and the Senior Vice
                                                             President of Managed Care at Eli Lilly, among others.

                                                             In at least 2012 and 2016, the leaders of CVS Health and Sanofi
                                                             participated in executive meetings which included discussions in
                                                             furtherance of the Insulin Pricing Scheme. These meetings included
                                                             the CEO of CVS Health, the COO of CVS Health and members of CVS


                                                   85.    In November 2018, CVS Health acquired Aetna for $69 billion and

                                             became the first combination of a major health insurer, PBM, mail order and retail

                                             pharmacy chain. As a result, CVS Health controls the health plan/insurer, the PBM

                                             and the pharmacies utilized by approximately 40 million Aetna members in the


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                                             United States and in Illinois. CVS Health controls the entire drug pricing chain for

                                             these 40 million Americans.
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                                                   86.    Defendant CVS Pharmacy, Inc.                                  is a Rhode

                                             Island corporation whose principal place of business is at the same location as CVS

                                             Health. CVS Pharmacy is a wholly owned subsidiary of CVS Health.

                                                   87.    CVS Pharmacy owns and operates hundreds of pharmacies throughout

                                             Illinois that are directly involved in and profit from the Insulin Pricing Scheme.

                                                   88.    In its capacity as a retail pharmacy, CVS Pharmacy, working in

                                             conjunction with its corporate affiliate entities, knowingly assisted the CVS Health

                                             family in profiting from the artificially inflated list prices produced by the Insulin

                                             Pricing Scheme by pocketing the spread between acquisition cost for the drugs at

                                             issue (an amount well below the list price generated by the Insulin Pricing Scheme),

                                             and the amounts received from payors (which amounts were based on the artificially

                                             inflated list prices and, in many cases, were set by CVS Caremark in its capacity as

                                             a PBM).

                                                   89.    CVS Pharmacy is the immediate and direct parent of Defendant

                                             Caremark Rx, L.L.C.

                                                   90.    CVS Pharmacy is registered to do business in Illinois and may be served

                                             through its registered agent: CT Corporation System, 208 South LaSalle Street,

                                             Suite 814, Chicago, Illinois 60604.




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                                                   91.    During the relevant time period, CVS Pharmacy provided retail

                                             pharmacy services in Illinois that gave rise to the Insulin Pricing Scheme, which
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                                             damaged Illinois diabetics and the State.

                                                   92.    Defendant Caremark Rx, L.L.C. is a Delaware limited liability

                                             company and its principal place of business is at the same location as CVS Pharmacy

                                             and CVS Health.

                                                   93.    Caremark Rx, L.L.C. is registered to do business in Illinois and may be

                                             served through its registered agent: CT Corporation System, 208 South LaSalle

                                             Street, Suite 814, Chicago, Illinois 60604.

                                                   94.    Caremark Rx, L.L.C. is a wholly owned subsidiary of Defendant CVS

                                             Pharmacy.

                                                   95.    During the relevant time period, Caremark Rx, L.L.C. provided PBM and

                                             mail order pharmacy services in Illinois that gave rise to the Insulin Pricing Scheme

                                             and damaged diabetics and payors in Illinois.

                                                   96.    Defendant Caremark L.L.C. is a California limited liability company

                                             whose principal place of business is at the same location as CVS Health. Caremark,

                                             L.L.C. is a wholly owned subsidiary of Caremark Rx, L.L.C.

                                                   97.    Caremark, L.L.C. is registered to do business in Illinois and may be

                                             served through its registered agent: CT Corporation System, 208 South LaSalle

                                             Street, Suite 814, Chicago, Illinois 60604.

                                                   98.    Caremark, L.L.C. holds an active pharmacy benefit manager license, an

                                             active third party administrator license, an active third party prescription program




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                                             license, an active wholesale drug distributor license, four active pharmacy licenses,

                                             and three active controlled substance licenses in Illinois.
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                                                      99.    During the relevant time period, Caremark, L.L.C. provided PBM and

                                             mail order pharmacy services in Illinois that gave rise to the Insulin Pricing Scheme,

                                             which damaged diabetics and payors in Illinois.

                                                      100.   Defendant CaremarkPCS Health, L.L.C. is a Delaware limited

                                             liability company whose principal place of business is at the same location as CVS

                                             Health. CVS Health is the direct or indirect parent company of CaremarkPCS Health,

                                             L.L.C.

                                                      101.   CaremarkPCS Health, L.L.C. provides pharmacy benefit management

                                             services.

                                                      102.   CaremarkPCS Health, L.L.C. is registered to do business in Illinois and

                                             may be served through its registered agent: CT Corporation System, 208 South

                                             LaSalle Street, Suite 814, Chicago, Illinois 60604.

                                                      103.   CaremarkPCS Health, L.L.C. holds an active pharmacy benefit manager

                                             license, an active third party administrator license, and an active third party

                                             prescription program license in Illinois.

                                                      104.   During the relevant time period, CaremarkPCS Health, L.L.C. provided

                                             PBM services in Illinois, which gave rise to the Insulin Pricing Scheme and damaged

                                             diabetics and payors in Illinois, including the State.

                                                      105.   As a result of numerous interlocking directorships and shared

                                             executives, Caremark Rx, L.L.C., CVS Pharmacy, and CVS Health are directly




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                                             involved in the conduct of and control CaremarkPCS Health, L.L.C       and Caremark,

                                                                                                           related to the at-issue
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                                             formulary construction, Manufacturer Payments, and mail order and retail pharmacy

                                             services to the ultimate detriment of diabetics and payors in Illinois. For example:

                                                             During the relevant time period, these parent and subsidiaries have
                                                             had common officers and directors. Examples include:

                                                                 Thomas S. Moffatt was Vice President and Secretary of Caremark
                                                                 Rx, L.L.C., CaremarkPCS Health, L.L.C., and Caremark, L.L.C at
                                                                 the same time he was a Vice President, Assistant Secretary, and
                                                                 Assistant General Counsel at CVS Health and Director, Vice
                                                                 President, and Secretary at CVS Pharmacy;

                                                                 Melanie K. Luker was the Assistant Secretary of CVS Pharmacy,
                                                                 Caremark Rx, L.L.C., CaremarkPCS Health, L.L.C, and
                                                                 Caremark, L.L.C. at the same time she was a Senior Manager of
                                                                 Corporate Services at CVS Health;

                                                                 Jonathan C. Roberts was an Executive Vice President and Chief
                                                                 Operating Officer at CVS Health at the same time he was CEO of
                                                                 Caremark Rx, L.L.C.;

                                                                 Daniel P. Davison was the President of CaremarkPCS Health.
                                                                 L.L.C. at the same time he was a Senior Vice President at CVS
                                                                 Health;

                                                                 Annie E. Klis was a Vice President at CVS Health at the same
                                                                 time she was CEO of Caremark, L.L.C

                                                             CVS Health directly or indirectly owns all the stock of CVS
                                                             Pharmacy, Caremark Rx, L.L.C., Caremark, L.L.C. and
                                                             CaremarkPCS Health L.L.C.

                                                             All of the executives of CaremarkPCS Health, L.L.C., Caremark,
                                                             L.L.C., Caremark Rx, L.L.C., and CVS Pharmacy ultimately report
                                                             to the executives at CVS Health, including the President and CEO of
                                                             CVS Health.

                                                             CVS Health, as a corporate family, does not operate as separate
                                                             entities. The public filings, documents, and statements of CVS Health



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                                                             presents its subsidiaries, including CVS Pharmacy, CaremarkPCS
                                                             Health, L.L.C., Caremark, L.L.C., and Caremark Rx, L.L.C. as
                                                             divisions or departments of one unified
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                                                                                    s
                                                             unmatched human connections to transform the health care
                                                             experience. The day-to-day operations of this corporate family reflect
                                                             these public statements. These entities are a single business
                                                             enterprise and should be treated as such as to all legal obligations
                                                             discussed in this Complaint. The CVS Health enterprise and each of
                                                             these entities, both individually and collectively, engaged in the at-
                                                             issue conduct that gave rise to the Insulin Pricing Scheme.

                                                   106.   Collectively, Defendants CVS Health, CVS Pharmacy, Caremark Rx,

                                             L.L.C., Caremark, L.L.C., and CaremarkPCS Health, L.L.C, including all predecessor

                                             and successor entities,

                                                   107.   CVS Caremark is named as a Defendant in its capacities as a PBM and

                                             retail and mail order pharmacy.

                                                   108.   In its capacity as a PBM, CVS Caremark coordinates with Novo Nordisk,

                                             Eli Lilly, and Sanofi regarding the artificially inflated list prices for the at-issue



                                                                              .

                                                   109.   CVS Caremark has the largest PBM market share based on total

                                             prescription claims managed, representing approximately 40% of the national market.

                                                                                                generated $141.5 billion in total

                                             revenues last year.

                                                   110.   At all times relevant hereto, CVS Caremark offered pharmacy benefit

                                             services to Illinois payors, and derived substantial revenue therefrom, and, in doing

                                             so, made the at-issue misrepresentations (discussed below) and utilized the artificially




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                                             inflated prices generated by the Insulin Pricing Scheme to profit off Illinois diabetics

                                             and payors.
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                                                      111.   At all times relevant hereto, CVS Caremark constructed standard

                                             formularies that are used nationwide, including by diabetics and

                                             payor clients in Illinois and that are relied on by residents in Illinois with diabetes as

                                             promoting diabetic health and lowering the price of the at-issue drugs. During the

                                             relevant time period, these standard formularies included drugs produced by the

                                             Manufacturer Defendants, including the at-issue diabetes medications.

                                                      112.   At all times relevant hereto, and contrary to all its express

                                             representations, CVS Caremark has knowingly insisted that diabetics and its payor

                                             clients, including in Illinois, use the artificially inflated list prices produced by the

                                             Insulin Pricing Scheme as the basis for payment for the price paid for the at-issue

                                             drugs.

                                                      113.   At all times relevant hereto, CVS Caremark has concealed its critical role

                                             in the generation of those artificially inflated list prices.

                                                      114.   During the relevant time period, CVS Caremark provided PBM services

                                             to the State. In doing so, CVS Caremark set the price paid by the State for the at-issue

                                             drugs utilizing the artificially inflated prices generated by the Insulin Pricing Scheme.

                                             The State also paid CVS Caremark for the at-issue drugs.

                                                      115.   In its capacity as a mail order and retail pharmacy, CVS Caremark

                                             dispensed the at-issue drugs to Illinois diabetics and received payments from Illinois




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                                             diabetics and payors based on the artificially inflated prices produced by the Insulin

                                             Pricing Scheme and, as a result, damaged Illinois diabetics and payors.
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                                                    116.    During the relevant time period, CVS Caremark provided the at-issue

                                             PBM and pharmacy services to                             In doing so, CVS Caremark

                                             dispensed the at-

                                                    117.    CVS Caremark purchases drugs produced by the Manufacturer

                                             Defendants, including the at-issue diabetes medications, for dispensing through its

                                             mail order and retail pharmacies.

                                                    118.    At all times relevant hereto, CVS Caremark had express agreements

                                             with Defendants Novo Nordisk, Sanofi, and Eli Lilly related to the Manufacturer

                                             Payments paid to CVS Caremark                                                    dard

                                             formularies                                                          -issue drugs sold



                                             in Illinois.

                                                    119.    Defendant Evernorth Health, Inc.                     , formerly known

                                             as Express Scripts Holding Company, is a Delaware corporation with its principal

                                             place of business at 1 Express Way, St. Louis, Missouri 63121.8

                                                    120.    Evernorth may be served through its registered agent: The Corporation

                                             Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

                                             Delaware 19801.



                                             8 Until 2021, Evernorth Health, Inc. conducted business under the name Express Scripts



                                             Health, Inc and Express Scripts Holding Company.


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                                                    121.   Evernorth, through its executives and employees is directly involved in

                                             shaping the company policies that inform its PBM services and formulary
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                                             construction, including with respect to the at-issue drugs, related to the Insulin

                                             Pricing Scheme.

                                             Wentworth was involved in communications with the Manufacturer Defendants

                                             related to the at-issue drugs and at-issue Manufacturer Payments in furtherance of

                                             the Insulin Pricing Scheme.

                                                    122.                         has had a direct effect in Illinois and damaged

                                             diabetics and payors in Illinois.

                                                    123.   On a regular basis, Evernorth executives and employees communicate

                                             with and direct its subsidiaries related to the at-issue PBM services and formulary

                                             activities.

                                                    124.   Throughout the relevant time period, the Manufacturer Defendants

                                             directly engaged with Evernorth executives in furtherance of the Insulin Pricing

                                             Scheme. Each Manufacturer Defendant has an entire team of executives dedicated

                                             exclusively to interacting with Evernorth.

                                                    125.    Manufacturers recognize that effectuating the Insulin Pricing Scheme




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                                                   126.   On a regular basis throughout the relevant time period, these

                                             Manufacturer executive teams       which at times include the CEOs from these
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                                             companies met with Evernorth to discuss their coordinated efforts related to the at-

                                             issue drugs. Examples include:

                                                             In at least 2013, 2014, 2015, 2017, and 2018, the leaders of Evernorth
                                                             and Eli Lilly participated in executive meetings in furtherance of the
                                                             Insulin Pricing Scheme. These meetings included the CEO of
                                                             Evernorth, Senior Director of Express Scripts, CEO of Eli Lilly, Head


                                                             In at least 2013, 2014, and 2016, the leaders of Evernorth and Novo
                                                             Nordisk participated in executive meetings in furtherance of the
                                                             Insulin Pricing Scheme.

                                                             In at least 2014, 2015, 2016, and 2017 the leaders of Evernorth and

                                                             meetings, which included discussions in furtherance of the Insulin
                                                             Pricing Scheme. These meetings included the Chairman and CEO of
                                                             Evernorth, the former President and current CEO, the Global CEO
                                                             of Sanofi and Chief Medical Officer of Sanofi, among others.

                                                   127.   Evernorth is the immediate or indirect parent of pharmacy and PBM

                                             subsidiaries that operate throughout Illinois, which engaged in the activities that gave

                                             rise to this Complaint.

                                                   128.   In December 2018, Evernorth merged with Cigna in a $67 billion deal to

                                             consolidate their businesses as a major health insurer, PBM and mail order pharmacy.

                                             As a result, the Evernorth corporate family controls the health plan/insurer, the PBM

                                             and the mail order pharmacies utilized by approximately 15 million Cigna members

                                             in the United States and in Illinois. Evernorth controls the entire drug pricing chain

                                             for these 15 million Americans.




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                                                   129.   In each annual report for at least the last decade, Evernorth has

                                             repeatedly, continuously, and explicitly stated:9
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                                                              Evernorth] help[s] health benefit providers address access and
                                                              affordability concerns resulting from rising drug costs while helping



                                                              controlling costs; evaluat[es] drugs for efficacy, value and price to
                                                              assist[ing] clients in selecting a cost-effective formulary; [and]
                                                              offer[s] cost-effective home delivery pharmacy and specialty services
                                                              that result in cost savings for plan sponsors [and better care for
                                                              members] leveraging purchasing volume to deliver discounts to


                                                                                         clients, manufacturers, pharmacists and
                                                              physicians to increase efficiency in the drug distribution chain, to

                                                              health outcomes

                                                   130.   Defendant Express Scripts, Inc. is a Delaware corporation and is a

                                             wholly owned subsidiary of Defendant Evernorth

                                             place of business is at the same location as Evernorth.

                                                   131.   Express Scripts, Inc. is registered to do business in Illinois and may be

                                             served through its registered agent: CT Corporation System, 208 South LaSalle

                                             Street, Suite 814, Chicago, Illinois 60604.

                                                   132.   Express Scripts, Inc. holds an active license as a third party prescription

                                             program and an active license as a business entity producer in Illinois.




                                             9 Express Scripts Annual Reports (Form 10-K) (Dec. 31, 2009-2019).




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                                                   133.   Express Scripts, Inc. is the immediate or indirect parent of pharmacy

                                             and PBM subsidiaries that operate throughout Illinois that engaged in the conduct,
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                                             which gave rise to this Complaint.

                                                   134.   During the relevant time period, Express Scripts Inc. was directly

                                             involved in the PBM and mail order pharmacy services, which gave rise to the Insulin

                                             Pricing Scheme and damaged diabetics, the State, and payors in Illinois.

                                                   135.   Defendant Express Scripts Administrators, LLC, is a Delaware

                                             limited liability company and is a wholly owned subsidiary of Evernorth. Express



                                             Evernorth.

                                                   136.   Express Scripts Administrators, LLC is registered to do business in

                                             Illinois and may be served through its registered agent: CT Corporation System, 208

                                             South LaSalle Street, Suite 814, Chicago, Illinois 60604.

                                                   137.   Express Scripts Administrators, LLC holds an active pharmacy benefit

                                             manager license, an active third-party administrator license, and an active third-

                                             party prescription program license in Illinois.

                                                   138.   During the relevant time period, Express Scripts Administrators, LLC

                                             provided the PBM services in Illinois discussed in this Complaint that gave rise to the

                                             Insulin Pricing Scheme that damaged diabetics, the State, and payors in Illinois.

                                                   139.                                                              is a Delaware

                                             Corporation with its principal place of business located at 100 Parsons Pond Road,

                                             Franklin Lakes, New Jersey.




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                                                    140.   Medco is registered to do business in Illinois and may be served through

                                             its registered agent: CT Corporation System, 208 South LaSalle Street, Suite 814,
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                                             Chicago, Illinois 60604

                                                    141.   Prior to 2012, Medco provided the at-issue PBM and mail order services

                                             in Illinois, which gave rise to the Insulin Pricing Scheme and damaged diabetics and

                                             payors in Illinois.

                                                    142.   In 2012, Express Scripts acquired Medco for $29 billion.

                                                    143.   Prior to the merger Express Scripts and Medco were two of the largest

                                             PBMs in the United States and in Illinois.

                                                    144.   Prior to the merger, Medco provided the at-issue PBM and mail-order

                                             services in Illinois, which gave rise to the Insulin Pricing Scheme and damaged

                                             diabetic Illinois residents and the State.

                                                    145.

                                             functions were combined into Express Scripts. The combined company (Medco and



                                             customers becomi

                                             155 million lives at the time of the merger.

                                                    146.   At the time of the merger, on December 6, 2011, in his testimony before

                                             the Senate Judiciary Committee, then CEO of Medco, David B Snow, publicly



                                             savings to our clients and, ultimately, to consumers. This is because our combined




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                                             entity will achieve even greater [Manufacturer Payments] from drug manufacturers

                                             and othe
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                                                   147.      The then-CEO of Express Scripts, George Paz, during a Congressional



                                             Express Scripts and Medco will be well-positioned to protect American families from

                                             the rising co

                                                   148.      Defendant ESI Mail Pharmacy Service, Inc. is a Delaware

                                             corporation and is a wholly owned subsidiary of Defendant Evernorth. ESI Mail



                                             Evernorth.

                                                   149.      ESI Mail Pharmacy Service, Inc. may be served through its registered

                                             agent: The Corporation Trust Company, Corporation Trust Center, 1209 Orange

                                             Street, Wilmington, Delaware 19801.

                                                   150.      ESI Mail Pharmacy Service, Inc. holds six active pharmacy licenses and

                                             two active controlled substances licenses in Illinois.

                                                   151.      During the relevant time period, ESI Mail Pharmacy Service provided

                                             the mail order pharmacy services in Illinois discussed in this Complaint, which gave

                                             rise to the Insulin Pricing Scheme and damaged diabetics and payors in Illinois.

                                                   152.      Defendant Express Scripts Pharmacy, Inc. is a Delaware

                                             corporation and is a wholly owned subsidiary of Defendant Evernorth. Express Scripts

                                                                                                                    Evernorth.




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                                                    153.    Express Scripts Pharmacy, Inc. is registered to do business in Illinois

                                             and may be served through its registered agent: CT Corporation System, 208 South
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                                             LaSalle Street, Suite 814, Chicago, Illinois 60604.

                                                    154.    Express Scripts Pharmacy, Inc. holds six active pharmacy licenses and

                                             five active controlled substance licenses in Illinois.

                                                    155.    During the relevant time period, Express Scripts Pharmacy, Inc.

                                             provided the mail order pharmacy services in Illinois discussed in this Complaint,

                                             which gave rise to the Insulin Pricing Scheme and damaged diabetics and payors in

                                             Illinois.

                                                    156.    As a result of numerous interlocking directorships and shared

                                             executives, Evernorth and Express Scripts, Inc. are directly involved in the conduct of

                                             and control Express Scripts Administrators, LLC, Medco Health Solutions, Inc., ESI

                                             Mail Pharmacy Service, Inc.,

                                             management and business decisions related to the at-issue formulary construction,

                                             Manufacturer Payments, and mail order pharmacy services to the ultimate detriment

                                             of Illinois diabetics, payors, and the State. For example:

                                                               During the relevant time period, these parent and subsidiaries have
                                                               had common officers and directors:

                                                                  Officers and/or directors that have been shared between Express
                                                                  Scripts, Inc. and Evernorth include Bradley Phillips, Chief
                                                                  Financial Officer; David Queller, President; Jill Stadelman,
                                                                  Secretary; Timothy Smith, Vice President; and Scott Lambert,
                                                                  Treasury Manager Director;

                                                                  Executives that have been shared between Express Scripts
                                                                  Administrators, LLC and Evernorth include Bradley Phillips,




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                                                      Chief Financial      Officer;   and   Priscilla   Duncan,   Associate
                                                      Secretary;
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                                                      Officers and/or directors that have been shared between ESI Mail
                                                      Pharmacy Service, Inc. and Evernorth include Bradley Phillips,
                                                      Chief Financial Officer; Priscilla Duncan, Associate Secretary;
                                                      and Joanne Hart, Associate Treasurer;

                                                      Officers and/or directors that have been shared between Express
                                                      Scripts Pharmacy, Inc. and Evernorth include Bradley Phillips,
                                                      Chief Financial Officer; Jill Stadelman, Secretary; Scott Lambert,
                                                      Treasury Manager Director; and Joanne Hart, Associate
                                                      Treasurer; and

                                                      Officers and/or directors that have been shared between Medco
                                                      Health Solutions, Inc. and Evernorth include David Queller,
                                                      President and Senior VP of Sales & Accounting, Christine
                                                      Houston, VP and COO, Timothy Smith, VP and Treasurer and all
                                                      of the officers of Medco Health Solutions are also officers of
                                                      Express Scripts, Inc.

                                                   Evernorth directly or indirectly owns all the stock of Express Scripts
                                                   Administrators, LLC, Medco Health Solutions, Inc., ESI Mail
                                                   Pharmacy Service, Inc., Express Scripts Pharmacy, Inc. and Express
                                                   Scripts, Inc.

                                                   The Evernorth corporate family does not operate as separate entities.
                                                   The public filings, documents, and statements of Evernorth presents
                                                   its subsidiaries, including Express Scripts Administrators, LLC,
                                                   Medco Health Solutions, Inc., ESI Mail Pharmacy Service, Inc.,
                                                   Express Scripts Pharmacy, Inc., and Express Scripts, Inc. as divisions
                                                   or departments of                                  businesses that have
                                                   as many as 30+ years of experience . . . [to] tak[e] health services
                                                   further with integrated data and analytics that help us deliver better
                                                                            The day-to-day operations of this corporate
                                                   family reflect these public statements. All of these entities are a single
                                                   business enterprise and should be treated as such as to all legal
                                                   obligations detailed in this Complaint. The Evernorth enterprise and
                                                   each of these entities, both individually and collectively, engaged in
                                                   the at-issue conduct that gave rise to the Insulin Pricing Scheme.

                                                   All of the executives of Express Scripts Administrators, LLC, ESI
                                                   Mail Pharmacy Service, Inc., Medco Health Solutions, Inc., Express




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                                                              Scripts Pharmacy, Inc., and Express Scripts, Inc. ultimately report to
                                                              the executives, including the CEO, of Evernorth.
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                                                              As stated above, Evernorth            and other executives and officers
                                                              are directly involved in the policies and business decisions of Express
                                                              Scripts Administrators, LLC, ESI Mail Pharmacy Service, Inc.,
                                                              Medco Health Solutions, Inc., Express Scripts Pharmacy, Inc., and
                                                              Express Scripts, Inc. that gave rise to the State
                                                              Complaint.

                                                   157.   Collectively, Defendants Evernorth Health, Inc., Express Scripts, Inc.,

                                             Express Scripts Administrators, LLC, ESI Mail Pharmacy Service, Inc. Medco Health

                                             Solutions, Inc., and Express Scripts Pharmacy, Inc., including all predecessor and

                                             successor entities,

                                                   158.   Express Scripts is named as a Defendant in its capacities as a PBM and

                                             mail order pharmacy.

                                                   159.   In its capacity as a PBM, Express Scripts coordinates with Novo Nordisk,

                                             Eli Lilly, and Sanofi regarding the artificially inflated list prices for the at-issue

                                             diabetes med

                                                                             .

                                                   160.   Prior to merging with Cigna in 2019, Express Scripts was the largest

                                             independent PBM in the United States. During the relevant period of this Complaint,

                                             Express Scripts controlled 30% of the PBM market in the United States.

                                                   161.   Express Scripts has only grown larger since the Cigna merger.

                                                   162.   In 2017, annual revenue for Express Scripts was over $100 billion.




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                                                    163.    As of December 31, 2018, more than 68,000 retail pharmacies,

                                             representing over 98% of all retail pharmacies in the nation, participated in one or
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                                                    164.    At all times relevant hereto, Express Scripts offered pharmacy benefit

                                             services, and derived substantial revenue therefrom, in Illinois and provided the at-

                                             issue PBM services to numerous payors in Illinois.

                                                    165.    At all times relevant hereto, and contrary to all of their express

                                             representations, Express Scripts has knowingly insisted that its payor clients,

                                             including those in Illinois, use the artificially inflated list prices produced by the

                                             Insulin Pricing Scheme as the basis for reimbursement of the at-issue drugs.

                                                    166.    At all times relevant hereto, Express Scripts has concealed its critical

                                             role in the generation of those artificially inflated list prices.

                                                    167.    At all times relevant hereto, Express Scripts constructed standard

                                             formularies that are used nationwide, including by diabetics and

                                             payor clients in Illinois, and that are relied on by residents in Illinois with diabetes

                                             as promoting diabetic health and lowering the price of the at-issue drugs. During the

                                             relevant time period, these standard formularies included the at-issue diabetes

                                             medications.

                                                    168.    During certain years when some of the largest at-issue price increases

                                             occurred, including in 2013 and 2014, Express Scripts worked directly with OptumRx

                                             to negotiate Manufacturer Payments on behalf of OptumRx and its clients in

                                             exchange for preferred formulary placement. For example, in a February 2014 email




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                                             released by the U.S. Senate in conjunction with its January 2021 report titled
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                                             related to the at-issue drugs for Cigna (who later would become part of Express

                                             Scripts).

                                                    169.    During the relevant time period, Express Scripts provided PBM

                                             services to the State. In doing so, Express Scripts set the price paid by the State for

                                             the at-issue drugs utilizing the artificially inflated prices generated by the Insulin

                                             Pricing Scheme. The State also paid Express Scripts for the at-issue drugs.

                                                    170.    In its capacity as a mail order pharmacy, Express Scripts dispensed the

                                             at-issue drugs to Illinois diabetics and received payments from Illinois diabetics and

                                             payors based on the artificially inflated prices produced by the Insulin Pricing

                                             Scheme and, as a result, damaged Illinois diabetics and payors.

                                                    171.    During the relevant time period, Express Scripts provided the at-issue

                                                                                                       In doing so, Express Scripts

                                             dispensed the at-issue drugs to the State                             .

                                                    172.    At all times relevant hereto, Express Scripts derived substantial

                                             revenue providing mail order pharmacy services in Illinois.

                                                    173.    Express Scripts purchases drugs produced by the Manufacturer

                                             Defendants, including the at-issue diabetes medications, for dispensing through its

                                             mail order pharmacies.




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                                                    174.    At all times relevant hereto, Express Scripts had express agreements

                                             with Defendants Novo Nordisk, Sanofi, and Eli Lilly related to the Manufacturer
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                                             Payments paid to Express Scripts and placement on Express Scripts

                                                                                                                   -issue drugs sold

                                             through                   mail order and retail pharmacies, including those located in

                                             Illinois.

                                                    175.    Defendant UnitedHealth Group, Inc                                     or

                                                     ) is a corporation organized under the laws of Delaware with its principal place

                                             of business at 9900 Bren Road East, Minnetonka, Minnesota, 55343.

                                                    176.    UnitedHealth Group, Inc. may be served through its registered agent:

                                             The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,

                                             Wilmington, Delaware 19801.

                                                    177.    UnitedHealth Group, Inc. is a diversified managed healthcare company.

                                             In 2015, UnitedHealth Group listed revenue in excess of $257 billion, and the company

                                             is currently ranked fifth on the Fortune 500 list. UnitedHealth Group, Inc. offers a

                                             spectrum of products and services including health insurance plans and pharmacy

                                             benefits through its wholly-owned subsidiaries.

                                                    178.    More than one-third of the overall revenues of UnitedHealth Group come

                                             from OptumRx.

                                                    179.    UnitedHealth Group, through its executives and employees, is directly

                                             involved in the company policies that inform its PBM services and formulary

                                             construction, including with respect to the at-issue drugs and related to the Insulin




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                                             Pricing Scheme. For example, executives of UnitedHealth Group structure, analyze,

                                                                                                 -wide policies, including PBM and
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                                             mail-order services, as a means of maximizing profits across the corporate family.

                                                   180.

                                             works directly with pharmaceutical manufacturers to secure discounts that lower the

                                             overall cost of medications and create tailored formularies    or drug lists   to ensure

                                             people get the right medications. [UnitedHealth Group] then negotiate[s] with

                                             pharmacies to lower costs at the point of sale . . . [UnitedHealth Group] also operate[s]

                                             [mail order pharmacies] . . . [UnitedHealth Group] work[s] directly with drug

                                             wholesalers and distributors to ensure consistency of the brand and generic drug



                                                   181.   On a regular basis throughout the relevant time period, executive teams

                                             from each Manufacturer Defendant including at times their CEOs                 met with

                                             executives from UnitedHealth Group to discuss their coordinated efforts in

                                             furtherance of the Insulin Pricing Scheme. Examples include:

                                                                 In at least in 2010, 2016, 2017, and 2018, executives from
                                                          UHG, including CEOs, the Executive Vice President of Corporate
                                                          Affairs, Senior Directors of Diabetes Alliance, CEOs of OptumRx, and
                                                          the Executive Vice President of OptumRx, met and/or engaged in
                                                          discussions with executives at Eli Lilly, including CEO Dave Ricks,
                                                          that included discussions related to the Insulin Pricing Scheme.

                                                                In 2014, the CEO and Senior Vice President of UHG met
                                                          with executives at Novo Nordisk and engaged in discussions,
                                                          including involving topics that related to the Insulin Pricing Scheme.

                                                                In at least 2014 and 2018, executives at UnitedHealth Group,
                                                          including CEOs, met with executives at Sanofi, including CEO of Sanofi
                                                          to engage in discussions, including involving topics that related to the
                                                                                          stated objective for these meetings was


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                                                            future business development with UHG, along with establishing a
                                                            stronger executive level strategic relationship with UHG.
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                                                    182.    In 2011, UHG invested significantly in building

                                             capabilities. This included UHG forming an enterprise wide UHG Pharmacy Steering

                                             Committee to oversee all UHG-related formularies, including OptumRx, with the goal

                                             of aligning 90% of their formularies/PDLs across all their segments (Medicare,

                                             commercial and managed care) and moving to one P&T committee in 2012. This effort

                                             also included tasking OptumRx with negotiating rebates and manufacturer contracts

                                             for all UHG enterprise-wide formularies.

                                                    183.                                               ffect in Illinois and damaged

                                             diabetics and payors in Illinois and the State.

                                                    184.    Defendant OptumInsight, Inc. is a Delaware corporation with its

                                             principal place of business located in Eden Prairie, Minnesota.

                                                    185.    OptumInsight, Inc. is registered to do business in Illinois and may be

                                             served through its registered agent: CT Corporation System, 208 South LaSalle

                                             Street, Suite 814, Chicago, Illinois 60604.

                                                    186.    OptumInsight, Inc. holds an active Third Party Administrator License in

                                             Illinois.

                                                    187.    During the relevant time period, due to name changes and mergers, a

                                             number of different entities made up what is now known as OptumInsight, including

                                             Ingenix, Innovus, i3, QualityMetric, Htanalytics, ChinaGate, CanReg, and the Lewin

                                             Group. For the purposes of this Complaint,                            to each of these

                                             entities.


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                                                    188.   OptumInsight is an integral part of the Insulin Pricing Scheme and

                                             during the relevant time period OptumInsight coordinated directly with the
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                                             Manufacturer Defendants in furtherance of the conspiracy. OptumInsight analyzed

                                             data and other information from the Manufacturer Defendants to advise Defendants

                                             with regard to the profitability of the Insulin Pricing Scheme to the benefit of all

                                             Defendants.

                                                    189.   For example, during the relevant time period OptumInsight provided

                                             Illinois specific data to the Manufacturers related to at-issue drugs, including which

                                             Illinois pharmacies sold the most of these diabetic products. The Manufacturers used

                                             this data to move shares of their diabetes medications.

                                                    190.   Each Manufacturer Defendant had dedicated executives assigned to

                                             OptumInsight for the purpose of collaborating with key executives and coordinating

                                             with OptumInsight for data acquisition and utilization.

                                                    191.   The Manufacturers utilized their relationships with OptumInsight to

                                             deepen their ties to the overall UnitedHealth Group corporate family and to secure

                                             formulary wins for their diabetes medications.

                                                    192.   Each Manufacturer Defendant also contracted with OptumInsight

                                             during the relevant time period to engage in partnerships targeting diabetics,

                                             including in Illinois.

                                                    193.   OptumInsight was paid tens of millions of dollars for claims analytical

                                             services it provided in Illinois during the relevant time period, including related to

                                             the at-issue drugs.




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                                                   194.     Defendant OptumRx, Inc.                       is a California corporation

                                             with its principal place of business at 2300 Main St., Irvine, California, 92614.
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                                                   195.     OptumRx is registered to do business in Illinois and may be served

                                             through its registered agent: CT Corporation System, 208 South LaSalle Street, Suite

                                             814, Chicago, Illinois 60604.

                                                   196.     OptumRx holds an active pharmacy benefit manager license (License No.

                                             100317588), an active third party administrator license, an active third party

                                             prescription program license, two active pharmacy licenses, and two active controlled

                                             substance licenses in Illinois.

                                                   197.     As a result of numerous interlocking directorships and shared

                                             executives, UnitedHealth Group is directly involved in the conduct and control of



                                             related to the at-issue formulary construction, negotiations, and mail-order pharmacy

                                             services to the ultimate detriment of Illinois diabetics and payors, including the State.

                                             For example:

                                                              These parent and subsidiaries have common officers and directors,
                                                            including:

                                                                  Sir Andrew Witty is president of UnitedHealth Group and CEO of
                                                                  Optum, Inc.;

                                                                  Dan Schumacher is president of Optum, Inc, the Chief Strategy
                                                                  and Growth Officer at UnitedHealth Group, Inc. and oversees
                                                                  OptumInsight;

                                                                  Terry Clark is a senior vice president and chief marketing officer
                                                                  at UnitedHealth Group and also oversees the branding,
                                                                  marketing, and advertising for UnitedHealth Group and Optum,
                                                                  Inc.;



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                                                      Tom Roos serves as chief accounting officer for UnitedHealth
                                                      Group and Optum, Inc.;
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                                                      Heather Lang is Deputy General Counsel, Subsidiary Governance
                                                      at UnitedHealth Group, Inc. and also Assistant Secretary at
                                                      OptumRx, Inc.;

                                                      Peter Gill is Vice President at UnitedHealth Group, Inc. and also
                                                      Treasurer at OptumRx, Inc.;

                                                      John Santelli leads Optum Technology, the leading technology
                                                      division of Optum, Inc serving the broad customer base of Optum
                                                      and UnitedHealthcare and also se
                                                      chief information officer;

                                                      Eric Murphy is the Chief Growth and Commercial Officer for
                                                      Optum, Inc. and has also led OptumInsight, Inc.

                                                      Timothy Wicks, CFO and Executive Vice President of Industry
                                                      and Network relations for OptumRx, Inc.

                                                      operations product management and business development roles
                                                      at UnitedHealthcare, OptumInsight and most recently, Optum


                                                     UnitedHealth Group directly or indirectly owns all the stock of
                                                OptumRx, Inc. and OptumInsight, Inc.

                                                      The UnitedHealth Group corporate family does not operate as
                                                separate entities. The public filings, documents, and statements of
                                                UnitedHealth Group presents its subsidiaries, including OptumRx, Inc.
                                                and OptumInsight as divisions or departments of a single company that


                                                work better for everyon    The day-to-day operations of this corporate
                                                family reflect these public statements. These entities are a single
                                                business enterprise and should be treated as such as to all legal
                                                obligations detailed in this Complaint. The UnitedHealth Group
                                                enterprise and each of these entities, both individually and collectively,
                                                engaged in the at-issue conduct that gave rise to the Insulin Pricing
                                                Scheme.




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                                                                  All the executives of OptumRx, Inc. and OptumInsight ultimately
                                                           report to the executives, including the CEO, of UnitedHealth Group.
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                                                           directly involved in the policies and business decisions of OptumRx, Inc.
                                                           and OptumInsight that gave rise to

                                                    198.   Collectively, Defendants UnitedHealth Group, Inc., OptumRx, Inc., and

                                             OptumInsight, Inc., including all predecessor and successor entities, are referred to



                                                    199.   OptumRx is named as a Defendant in its capacities as a PBM and mail

                                             order pharmacy.

                                                    200.   In its capacity as a PBM, OptumRx coordinates with Novo Nordisk, Eli

                                             Lilly, and Sanofi regarding the artificially inflated list prices for the at-issue diabetes



                                                                           .


                                                    201.   OptumRx provides PBM services to more than 65 million people in the

                                             nation through a network of more than 67,000 retail pharmacies and multiple delivery

                                             facilities.

                                                    202.   In 2019, OptumRx managed more than $96 billion in pharmaceutical

                                             spending, with a revenue of $74 billion.

                                                    203.   Prior to 2011, OptumRx was known as Prescription Solutions. In

                                             addition, as illustrated in Figure 13, OptumRx rose to power through numerous

                                             mergers with other PBMs. For example, in 2012, a large PBM, SXC Health Solutions

                                             bought one of its largest rivals, Catalyst Health Solutions Inc. in a roughly $4.14




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                                             billion deal. Shortly thereafter, SXC Health Solutions Corp. renamed the company

                                             Catamaran Corp. Following this                                     UnitedHealth Group,
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                                             bought Catamaran Corp in a deal worth $12.8 billion and merged Catamaran with

                                             OptumRx.

                                                    204.    Prior to merging with OptumRx (or being renamed), Prescription

                                             Health Solutions, Catalyst Health Solutions, Inc., and Catamaran Corp. engaged in

                                             the at-issue PBM and mail order activities.

                                                    205.    At all times relevant hereto, OptumRx derived substantial revenue

                                             providing pharmacy benefits in Illinois.

                                                    206.    At all times relevant hereto, and contrary to all their express

                                             representations, OptumRx has knowingly insisted that diabetics and its payor

                                             clients, including its payor clients in Illinois, use the artificially inflated list prices

                                             produced by the Insulin Pricing Scheme as the basis for reimbursement of the at-

                                             issue drugs.

                                                    207.    At all times relevant hereto, OptumRx has concealed its critical role in

                                             the generation of those artificially inflated list prices.

                                                    208.    At all times relevant hereto, OptumRx offered pharmacy benefit

                                             management services nationwide and constructed standard formularies that are used

                                             throughout Illinois by payors and diabetics, and that are relied on by residents in

                                             Illinois with diabetes as promoting diabetic health and lowering the price of the at-

                                             issue drugs. During the relevant time period, these standard formularies included the

                                             at-issue diabetes medications.




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                                                   209.    In its capacity as a mail order pharmacy, OptumRx dispensed the at-

                                             issue drugs to Illinois diabetics and received payments from Illinois diabetics and
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                                             payors based on the artificially inflated prices produced by the Insulin Pricing Scheme

                                             and, as a result, damaged Illinois diabetics and payors.

                                                   210.    At all times relevant hereto, OptumRx purchased drugs produced by the

                                             Manufacturer Defendants, including the at-issue diabetes medications, and dispensed

                                             the at-issue medications to diabetics in Illinois through its mail order pharmacies.

                                                   211.    At all times relevant hereto, OptumRx had express agreements with

                                             Defendants Novo Nordisk, Sanofi, and Eli Lilly related to the Manufacturer Payments

                                             paid by the Manufacturer Defendants to OptumRx, as well as agreements related to

                                                                   -                                                                .

                                                   212.    Collectively, CVS Caremark, OptumRx, and Express Scripts are referred



                                                   213.



                                                                                PUBLIC INTEREST

                                                   214.    The Illinois Attorney General believes this action to be in the public

                                             interest of the citizens of the State of Illinois and brings this action pursuant to the

                                             Illinois Consumer Fraud and Deceptive Business Practices Act and the Illinois

                                             common law.

                                                   215.    This action seeks, on behalf of the State of Illinois and its citizens,

                                             equitable relief to redress injury in addition to injunctive relief seeking an end to

                                                          misconduct.


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                                                                           JURISDICTION AND VENUE

                                                    216.   This action is brought for and on behalf of the State of Illinois, by the
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                                             State of Illinois, by Kwame Raoul, Illinois Attorney General, pursuant to the

                                             provisions of the Consumer Fraud and Deceptive Business Practices Act and his

                                             common law authority as Attorney General to represent the State of Illinois and the

                                             people of Illinois.

                                                    217.   This Court has personal jurisdiction over each Defendant pursuant to

                                             735 ILCS 5/2-209. Each Defendant: (a) transacts business and/or is admitted to do

                                             business within Illinois, (b) maintains substantial contacts in Illinois, and (c)

                                             committed the violations of Illinois statutes and the common law in whole or part

                                             within Illinois. The Insulin Pricing Scheme has been directed at, and has had the

                                             foreseeable and intended effect of, causing injury to persons residing in, located in,

                                             or doing business in Illinois, and to the State.

                                                    218.   All of the at-issue transactions occurred in Illinois and/or involved

                                             Illinois residents.

                                                    219.   Venue for this action properly lies in Cook County, Illinois pursuant to

                                             Section 2-101 of the Illinois Code of Civil Procedure, 735 ILCS 5/2-101, in that the

                                             transaction or some part thereof which gave rise to this action occurred in Cook

                                             County.




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                                                                             FACTUAL ALLEGATIONS

                                                   A.     Diabetes and Insulin Therapy
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                                                          1.     Diabetes: A growing epidemic

                                                   220.

                                             called blood sugar, is too high. In a non-diabetic person, the pancreas secretes the

                                             hormone insulin, which controls the rate at which food is converted to glucose, or

                                             sugar, in the blood. When there is not enough insulin or cells stop responding to

                                             insulin, too much blood sugar stays in the bloodstream. Over time, that can cause

                                             serious health problems, such as heart disease, vision loss, and kidney disease.

                                                   221.   There are two basic types of diabetes. Roughly 90-95% of diabetics

                                             developed the disease because they do not produce enough insulin or have become

                                             resistant to the insulin their bodies do produce. Known as Type 2, this form of diabetes

                                             is often developed later in life. While Type 2 patients can initially be treated with

                                             tablets, in the long term most patients have to switch to insulin injections.

                                                   222.   Type 1 diabetes occurs when a patient completely ceases insulin

                                             production. In contrast to Type 2 patients, people with Type 1 diabetes do not produce

                                             any insulin and, without regular injections of insulin, they will die.

                                                   223.   Insulin treatments are a necessary part of life for those who have

                                                                                                               n can have severe

                                             consequences. Missed or inadequate insulin therapy can trigger hyperglycemia and

                                             then diabetic ketoacidosis. Left untreated, diabetic ketoacidosis can lead to loss of

                                             consciousness and death within days.




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                                                   224.    The number of Americans with diabetes has exploded in the last half

                                             century. In 1958, only 1.6 million people in the United States had diabetes. By the
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                                             turn of the century, that number had grown to over ten (10) million. Fourteen (14)

                                             years later, the count tripled again. Now over thirty (30) million people 9.4% of the

                                             country live with the disease.

                                                   225.    Likewise, the prevalence of diabetes in Illinois has been steadily

                                             increasing as well, over 1.3 Illinois adults now live with diabetes and another 3.6

                                             million have prediabetes.

                                                   226.    The burden of diabetes is not equally distributed in Illinois. Diabetes is

                                             significantly more prevalent in impoverished regions; nearly 1 in 4 diabetics in

                                             Illinois who earn less than $25,000 a year have diabetes.

                                                   227.    Minority communities are also disproportionally affected by this

                                             disease    nearly 20% of Black Illinois residents have diabetes.

                                                           2.    Insulin: A century old drug

                                                   228.    Despite its potentially deadly impact, diabetes is a highly treatable

                                             illness. For patients who are able to follow a prescribed treatment plan consistently,

                                             the health complications associated with the disease are avoidable.

                                                   229.    Unlike many high-burden diseases, treatment for diabetes has been

                                             available for almost a century.

                                                   230.    In 1922, Frederick Banting and Charles Best, while working at the

                                             University of Toronto, pioneered a technique for removing insulin from an animal

                                             pancreas that could then be used to treat diabetes. After discovery, Banting and Best

                                             obtained a patent and then sold it to the University of Toronto for $1 (equivalent of


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                                             $14 today), e

                                             anyone would be free to prepare the extract, but no one could secure a profitable
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                                                   231.      After purchasing the patent, the University of Toronto contracted with

                                             Defendants Eli Lilly and Novo Nordisk to scale their production. Under this

                                             arrangement, Eli Lilly and Novo Nordisk were allowed to apply for patents on

                                             variations to the manufacturing process.

                                                   232.      Although early iterations of insulin were immediately perceived as

                                             lifesaving, there have been numerous incremental improvements since its discovery.

                                             The earliest insulin was derived from animals and, until the 1980s, was the only

                                             treatment for diabetes.

                                                   233.      While effective, animal-derived insulin created the risk of allergic

                                             reaction. This risk was lessened in 1982 when synthetic insulin, known as human

                                             insulin, was developed by Defendant Eli Lilly. Eli Lilly marketed this insulin as

                                             Humulin. The development of human insulin benefited heavily from government and

                                             non-profit funding through the National Institute of Health and the American Cancer

                                             Society.

                                                   234.      Over a decade later, Defendant Eli Lilly developed the first analog

                                             insulin, Humalog, in 1996.

                                                   235.      Analog insulin is laboratory grown and genetically altered insulin.

                                             Analogs are slight variations on human insulin that make the injected treatment act

                                             more like the insulin naturally produced and regulated by the body.




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                                                    236.   Other rapid-

                                                                                                          ics use these rapid-acting
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                                             insulins in combination with longer-



                                                    237.   Manufacturer Defendants introduced these rapid-acting and long-acting

                                             analog insulins between 1996 and 2007.

                                                    238.   In 2015, Sanofi introduced Toujeo, another long-acting insulin also

                                             similar to Lantus, however Toujeo is highly concentrated, making injection volume

                                             smaller than Lantus.

                                                    239.   In 2016, Eli Lilly introduced Basaglar, which is a long-acting insulin that

                                             is biologically similar

                                                    240.   Even though insulin was first extracted nearly one hundred (100) years

                                             ago, only Defendants Eli Lilly, Novo Nordisk, and Sanofi manufacture insulin in the

                                             United States.

                                                    241.   Many of the at-issue diabetes medications are now off patent. However,

                                             due in large part to their ability to stifle all competition, Manufacturer Defendants

                                             make 99% of the insulins in the market today.

                                                           3.     Current insulin landscape

                                                    242.   While insulin today is generally safer and more convenient to use than

                                             when originally developed in 1922, there remain questions whether the overall

                                             efficacy of insulin has significantly improved over the last twenty (20) years.




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                                                   243.   For example, while long-acting analogs may have certain advantages

                                             over human insulins, such as affording more flexibility around mealtime planning, it
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                                             has yet to be shown that analogs lead to better long-term outcomes.

                                                   244.   A recent study published in the Journal of American Medical Association

                                             suggests that older human insulins may work just as well as newer analog insulins

                                             for patients with Type 2 diabetes.

                                                   245.   When discussing the latest iterations of insulins, Harvard Medical

                                             School professor David Nathan recently stated:

                                                                                                    most of these [insulins]
                                                   are being developed to preserve patent protection. The truth is they are
                                                   marginally different, and the clinical benefits of them over the older
                                                   drugs have been zero.

                                                   246.   Moreover, all of the insulins at issue in this case have either been

                                             available in the same form since the late 1990s/early 2000s or are biologically

                                             equivalent to insulins that were available then.

                                                   247.   Dr. Kasia Lipska, a Yale researcher and author of a 2018 study in the

                                             Journal of the American Medical Association on the cost of insulin, explained:




                                                   insulin th

                                                   248.   Nor have the production or research and development costs increased.

                                             In fact, in the last ten (10) years, the production costs of insulin have decreased as

                                             manufacturers simplified and optimized processes. A September 2018 study

                                             published in BMJ Global Health calculated that, based on production costs, a




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                                             between $78 and $133 for analog insulins         which includes delivering a profit to
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                                             manufacturers.

                                                    249.    Another recent study noted anecdotal evidence that the Manufacturers

                                             could be profitable charging under $2 a vial. While the study estimated the total cost

                                             (including device and cold-chain distribution) to produce a vial of analog insulin was

                                             $2.50, the study noted:

                                                    If we are wrong on [the $2.50 cost estimate] it would be by overestimating
                                                    them. In short, [while we calculate] costs are likely around $2.50 pen/vial
                                                    . . . in discussion with Biocon (a foreign insulin manufacturer) we were
                                                    told insulin price in India was

                                                    Lantus at under $1.60 in certain emerging markets national tenders.

                                                    250.    These figures stand in stark contrast to the $5,705 that a diabetic spent,

                                             on average, for insulin in 2016.

                                                    251.    Further, while research and development costs often make up a large

                                             percentage of the price of a drug, in the case of insulin the initial basic research

                                             original drug discovery and patient trials was performed one hundred (100) years

                                             ago.

                                                    252.    Even the more recent costs, such as developing the recombinant DNA

                                             fermentation process and the creation of insulin analogs, the Manufacturers incurred

                                             decades ago.

                                                    253.    Today, Manufacturer Defendants only spend a fraction of the billions of

                                             dollars in revenue they generate from the at-issue drugs on research and

                                             development.



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                                                    254.     Despite this decrease in production costs and no new research and

                                             development, the reported price of insulins has risen astronomically over the last
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                                             fifteen (15) years.

                                                             4.    Insulin adjuncts: Type 2 medications

                                                    255.     Over the past decade, Manufacturer Defendants have also released a

                                             number of non-insulin medications that help control the level of insulin in the

                                             bloodstream of Type 2 diabetics.

                                                    256.     In 2010, Novo Nordisk released Victoza as an adjunct to insulin to

                                             improve glycemic control. In 2014, Eli Lilly released a similar drug, Trulicity, in 2016,

                                             Sanofi did the same with Soliqua, and in 2017, Novo Nordisk did the same with

                                             Ozempic.

                                                    257.     Victoza, Trulicity, and Ozempic are all medications known as glucagon-

                                             like peptide-                           -                               -1 hormone that

                                             is already produced in the body. Soliqua is a combination long-acting insulin and GLP-

                                             1 drug. Each of these drugs can be used in conjunction with insulins to control

                                             diabetes.

                                                    258.     Today, Manufacturer Defendants have a dominant position in the

                                             market for all diabetes medications. The following is a list of diabetes medications at

                                             issue in this lawsuit:




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                                                         Table 1: Diabetes medications at issue in this case

                                               Insulin                                                       FDA           Current
                                                               Action         Name             Company
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                                                Type                                                       Approval          Price
                                             Human          Rapid-Acting    Humulin R          Eli Lilly     1982     $178 (vial)
                                                                            Humulin R          Eli Lilly    1994      $1,784 (vial)
                                                                              500                                     $689 (pens)
                                                                           Novolin R            Novo        1991      $165 (vial)
                                                                                               Nordisk                $312 (pens)
                                                            Intermediate    Humulin N          Eli Lilly    1982      $178 (vial)
                                                                                                                      $566 (pens)
                                                                           Humulin 70/30       Eli Lilly    1989      $178 (vial)
                                                                                                                      $566 (pens)
                                                                             Novolin N          Novo        1991      $165 (vial)
                                                                                               Nordisk                $312 (pens)
                                                                           Novolin 70/30        Novo        1991      $165 (vial)
                                                                                               Nordisk                $312 (pens)
                                             Analog         Rapid-Acting     Humalog           Eli Lilly    1996      $342 (vial)
                                                                                                                      $636 (pens)
                                                                              Novolog           Novo        2000      $347 (vial)
                                                                                               Nordisk                $671 (pens)
                                                                              Apidra            Sanofi      2004      $341 (vial)
                                                                                                                      $658 (pens)
                                                            Long-Acting       Lantus            Sanofi      2000      $ 340 (vial)
                                                                                                                      $510 (pens)
                                                                             Levemir            Novo        2005      $ 370 (vial)
                                                                                               Nordisk                $ 555 (pens)
                                                                              Basaglar         Eli Lilly    2016      $392 (pens)
                                                                             (Kwikpen)
                                                                               Toujeo           Sanofi      2015      $466 (pens)
                                                                             (Solostar)                               $622 (max pens)
                                                                              Tresiba           Novo        2015      $407 (vial)
                                                                                               Nordisk                $610 (pens      100u)
                                                                                                                      $732 (pens      200u)
                                             Type 2                          Trulicity         Eli Lilly    2014      $1,013 (pens)
                                             Medications
                                                                              Victoza           Novo        2010      $813 (2 pens)
                                                                                               Nordisk                $1,220 (3 pens)
                                                                             Ozempic            Novo        2017      $1,022 (pens)
                                                                                               Nordisk
                                                                              Soliqua           Sanofi      2016      $927.90 (pens)




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                                                   B.      The Dramatic Rise in the Price of Diabetes Medications

                                                           1.    Insulin price increases
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                                                   259.    In 2003, PBMs began their rise to power (which will be discussed in

                                             greater detail in the next section).

                                                   260.    That same year, the price of insulin began its dramatic rise to its current

                                             exorbitant level.

                                                   261.    Since 2003, the list price of certain insulins has increased in some

                                             cases by more than 1000%; an astounding increase especially when compared to a

                                             general inflation rate of 8.3% and a medical inflation rate of 46% in this time period.

                                                   262.    By 2016, the average price per month of the four most popular types of

                                             insulin rose to $450     and costs continue to rise, so much so that now one in four

                                             diabetics are skimping on or skipping lifesaving doses. This behavior is dangerous to

                                                          health and can lead to a variety of complications and even death.

                                                   263.    Since 1997, Defendant Eli Lilly has artificially inflated the list price of a

                                             vial of Humulin R (500U/ML) from $165 to $1784 (See Figure 2).




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                                                 Figure 2: Rising list prices of Humulin R (500U/mL)
                                                                    from 1997-2021
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                                                   264.   Since 1996, Defendant Eli Lilly has artificially inflated the list price for

                                             a package of pens of Humalog from less than $100 to $663 and from less than $50 for
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                                             a vial to $342 (See Figure 3).

                                                          Figure 3: Rising list prices of Humalog vials and pens
                                                                              from 1996-2021




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                                                   265.   Novo Nordisk has also artificially inflated the list prices from 2006 to

                                             2020, Levemir rose from $162 to $555 for pens and from under $100 to $370 per vial
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                                             (See Figure 4).

                                                          Figure 4: Rising list prices of Levemir from 2006-2021




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                                                   266.   From 2002 to 2020, Novo Nordisk has artificially inflated the list price of

                                             Novolog from $108 to $671 for a package of pens and from less than $50 to $347 for a
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                                             vial (See Figure 5).

                                                          Figure 5: Rising list prices of Novolog vials and pens
                                                                              from 2002-2021




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                                                    267.   Defendant Sanofi has kept pace as well, artificially inflating the list price

                                             for Lantus, the top-selling analog insulin, from less than $200 in 2006, to over $500 in
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                                             2020 for a package of pens and from less than $50 to $340 for a vial (See Figure 6).

                                                           Figure 6: Rising list prices of Lantus vials and pens
                                                                              from 2001-2021




                                                    268.                                       -insulin diabetes medications have

                                             experienced similar recent price increases. For example, since 2015 Eli Lilly has

                                             artificially inflated the list price of Trulicity almost 50%.

                                                    269.   Driven by these price hikes, payor and diabeti        spending on diabetes

                                             medications has skyrocketed with totals in the tens of billions of dollars.




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                                                             2.    Manufacturers increased prices in lockstep

                                                      270.   The timing of the list price increases reveal that each Manufacturer
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                                             Defendant has not only dramatically increased prices for the at-issue diabetes

                                             treatments, they have done so in perfect lockstep.

                                                      271.   In thirteen (13) instances since 2009, competitors Sanofi and Novo

                                             Nordisk raised the list prices of their insulins, Lantus and Levemir, in tandem, taking

                                             the same price increase down to the decimal point within a few days of each other.

                                                      272.   This practice of increasing drug prices in lockstep with competitors is

                                                                          and, as healthcare expert Richard Evans from SSR Health

                                             recently stated,

                                             price-

                                                      273.                                                          for the at-issue

                                             drugs were responsible for the highest drug price increases in the entire

                                             pharmaceutical industry.

                                                      274.   Eli Lilly and Novo Nordisk have engaged in the same lockstep behavior

                                             with respect to their rapid-acting analog insulins, Humalog and Novolog. Figure 7

                                             demonstrates these price increases with respect to Lantus and Levemir. Figure 8

                                             demonstrates this behavior with respect to Novolog and Humalog.




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                                                  Figure 7: Rising list prices of long-acting insulins
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                                                 Figure 8: Rising list prices of rapid-acting insulins
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                                             275.    Figure 9 demonstrates this behavior with respect to the human insulins,
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                                                    Figure 9: Rising list price increases for human insulins




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                                                   276.                                                   increases for their

                                             Type 2 drugs, Trulicity, Victoza and Ozempic.
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                                                              Figure 10: Rising list prices of Type 2 drugs




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                                                   277.   Figure 11 shows how, collectively, Manufacturer Defendants have

                                             exponentially raised the prices of insulin products in near perfect unison.
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                                                               Figure 11: Lockstep insulin price increases




                                                   278.   Because of Manufacturer Defendants collusive price increases, nearly a

                                             century after the discovery of insulin, diabetes medications have become unaffordable

                                             for many diabetics.

                                                   C.     Pharmaceutical Payment and Supply Chain

                                                   279.   The prescription drug industry consists of a deliberately opaque network

                                             of entities engaged in multiple distribution and payment structures. These entities

                                             include drug manufacturers, wholesalers, pharmacies, health plans/third party

                                             payors, pharmacy benefit managers, and patients.

                                                   280.   Generally speaking, branded prescription drugs, such as the at-issue

                                             diabetes medications, are distributed in one of two ways: (1) from manufacturer to

                                             wholesaler, wholesaler to pharmacy and pharmacy to patient or (2) from manufacturer

                                             to mail order pharmacy to patient.




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                                                       281.   The pharmaceutical industry, however, is unique in that the pricing

                                             chain is distinct from the distribution chain. The prices for the drugs distributed in
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                                             the pharmaceutical chain are different for each participating entity: different actors

                                             pay different prices set by different entities for the same drugs. The unifying factor is

                                             that the price that each entity in the pharmaceutical chain pays for a drug is directly

                                             tied to                            .

                                                       282.   There is no transparency in this pricing system; typically, only a brand

                                                                    also known as its Average Wholesale Price (AWP) or the

                                             mathematically-related Wholesale Acquisition Cost (WAC) is available. To note,

                                                                                                                                     ty



                                             that a wholesaler pays the Manufacturers is less than WAC because of post-purchase

                                             discounts.

                                                       283.   Drug manufacturers self-report WAC or other prices upon which AWP is

                                             based to publishing compendiums such as First DataBank, Redbook and others who

                                             then publish that price.

                                                       284.   As a direct result                           AWP persists as the most

                                             commonly and continuously used list price in reimbursement and payment

                                             calculations and negotiations for both payors and patients.

                                                              1.    Drug Costs for Diabetics.

                                                       285.   Whether insured or not, all Illinois diabetics pay a substantial part of

                                             their diabetic drug costs based on the false list prices generated by the Insulin Pricing

                                             Scheme.


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                                                   286.   Uninsured diabetic must pay the full, point-of-sale prices (based on the

                                             artificially prices generated by the Insulin Pricing Scheme) every time they fill their
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                                             prescriptions. In Illinois, 9.1% of the population or 275 thousand Illinois residents

                                             are uninsured. Approximately 18% of uninsured Illinois residents are diabetic. As a

                                             direct result of the Insulin Pricing Scheme, the prices uninsured Illinois residents

                                             pay for the at-issue life-sustaining drugs has skyrocketed over the last fifteen years.

                                                   287.   The uninsured are not the only patients saddled with high costs.

                                             Insured diabetics also often pay a significant portion of a drug            -of-pocket

                                             including in deductibles, coinsurance requirements, and/or copayment requirements

                                             based on the artificially inflated list prices generated by the Insulin Pricing Scheme.

                                                   288.   Thus, nearly all Illinois diabetics have been damaged by having to pay

                                             for diabetes medications out-of-pocket based upon the specific artificially prices

                                             generated by the Insulin Pricing Scheme. In many cases, the Illinois diabetics have

                                             been priced out of these life-sustaining drugs.

                                                   289.   In addition, these exorbitant indefensible out-of-pocket costs created by

                                             the Insulin Pricing Scheme make it more difficult for patients to adhere to their

                                             medications, resulting in avoidable complications and higher overall healthcare

                                             costs. An American Diabetes Association working gro

                                             with high cost-sharing are less adherent to recommended dosing, which results in

                                             short- and long-

                                             loss of productivity and increased healthcare costs that result from diabetics

                                             underdosing on their insulin has been deeply damaging to the State.




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                                                          2.     PBMs role in the pharmaceutical payment chain

                                                   290.   PBMs are at the center of the convoluted pharmaceutical payment chain,
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                                             as illustrated in Figure 12:

                                                           Figure 12: Insulin distribution and payment chain




                                                   291.   The PBM Defendants develop drug formularies, process claims, create a

                                             network of retail pharmacies, set the prices in coordination with the Manufacturers

                                             that payors pay for prescription drugs and are paid by payors for the drugs utilized by

                                                           ficiaries.

                                                   292.   PBMs also contract with a network of retail pharmacies often owned by

                                             the PBM. Pharmacies agree to dispense drugs to patients and pay fees back to the

                                             PBMs. PBMs reimburse pharmacies for the drugs dispensed.




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                                                   293.   PBM Defendants also own mail-order, retail and specialty pharmacies,

                                             which purchase and take possession of prescription drugs, including those at-issue
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                                             here, and directly supply those drugs to patients.

                                                   294.   Often times including for the at-issue drugs the PBM Defendants

                                             purchase drugs from the Manufacturers and dispense them to the patients.

                                                   295.   Even where PBM Defendants            pharmacies purchase drugs from

                                             wholesalers, their costs are set by direct contracts with the Manufacturers.

                                                   296.   In addition, and of particular significance here, PBM Defendants

                                             contract with pharmaceutical manufacturers, including Manufacturer Defendants.

                                                   297.   These relationships allow PBMs to exert tremendous influence over what

                                             drugs are available throughout Illinois and at what prices.

                                                   298.   Thus, PBMs are at the center of the flow of money in the pharmaceutical

                                             supply chain. In sum:

                                                          PBMs negotiate the price that payors pay for prescription drugs (for the
                                                          at-issue drugs based on artificially inflated prices generated by the
                                                          Insulin Pricing Scheme);

                                                          they separately negotiate a different (and often lower) price that
                                                          pharmacies in their networks receive for that same drug;

                                                          they set the amount in fees that the pharmacy pays back to the PBM for
                                                          each drug sold (for the at-issue drugs based on artificially inflated prices
                                                          generated by the Insulin Pricing Scheme);

                                                          they set the price paid for each drug sold through their mail order
                                                          pharmacies (for the at-issue drugs based on artificially inflated prices
                                                          generated by the Insulin Pricing Scheme); and

                                                          they negotiate the amount that the Manufacturers pay back to the PBM
                                                          for each drug sold (for the at-issue drugs based on artificially inflated
                                                          prices generated by the Insulin Pricing Scheme).



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                                                   299.   Yet, for the majority of these transactions, only the PBMs are privy to

                                             the amount that any other entity in this pricing chain is paying or receiving for the
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                                             exact same drugs.

                                                   300.   In every interaction that PBMs have within the pharmaceutical pricing

                                             chain they stand to profit from the artificially prices generated by the Insulin Pricing

                                             Scheme.

                                                          3.     The rise of the PBMs in the pharmaceutical supply chain

                                                   301.   When they first came into existence in the 1960s, PBMs functioned

                                             largely as claims processors. Over time, however, they have taken on a larger and

                                             larger role in the pharmaceutical industry. Today, PBMs wield significant control over

                                             the drug pricing system.

                                                   302.   One of the roles PBMs took on was negotiating with drug manufacturers

                                             ostensibly on behalf of payors.

                                                   303.   In the early 2000s, PBMs started buying pharmacies.

                                                   304.   When a PBM combines with a pharmacy, it has increased incentive to

                                             collude with Manufacturers to keep certain prices high.

                                                   305.   These perverse incentives still exist today with respect to both retail and

                                             mail order pharmacies housed within the                     families.

                                                   306.   More recently, further consolidation in the industry has afforded PBMs

                                             a disproportionate amount of market power.

                                                   307.   In total, nearly forty (40) different PBM entities have merged or

                                             otherwise been absorbed into what are now the PBM Defendants.




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                                                   308.   In addition, each of the PBM Defendants are now owned by other

                                             significant players within the pharmaceutical chain: Express Scripts merged with
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                                             Cigna in a $67 billion-dollar deal, Caremark was bought by the largest pharmacy in

                                             the United States, CVS for $21 billion, CVS also now owns Aetna following a $69

                                             billion-dollar deal and OptumRx is owned by the largest health insurance company in

                                             the United States, UnitedHealth Group.

                                                   309.   Figure 13 depicts this consolidation within the PBM market.

                                                                      Figure 13: PBM consolidation




                                                   310.   After merging or acquiring all their competitors and now backed by

                                             multi-billion-dollar corporations, PBM Defendants have taken over the market in the




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                                             past decade   controlling over 80% of the market and managing pharmacy benefits for

                                             over 270 million Americans.
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                                                   311.    Importantly, PBM Defendants have near complete control over the

                                             Manufacturer Payment market, given that in addition to their own clients (which

                                             represent 80% of the market), most smaller pharmacy benefit managers including

                                             the largest pharmacy benefit manager in the United States outside the PBM

                                             Defendants, Prime Therapeutics contract with the PBM Defendants (or their

                                             controlled affiliate rebate aggregator companies) to negotiate Manufacturer Payments

                                             on their behalf.

                                                   312.    Business is booming for PBM Defendants. Together, they report more

                                             than $300 billion in annual revenue.

                                                   313.    PBMs are able to use the consolidation in the market as leverage when

                                             negotiating with other entities in the pharmaceutical pricing chain. Last year,

                                             industry expert Lindsay Bealor Greenleaf from the Advice and Vision for the

                                             Healthcare Ecosystem (ADVI) consulting

                                             really difficult to engage in any type of fair negotiations when one of the parties has

                                             that kind of monopoly power . . . I think that is something that is going to continue

                                             getting attention, especially as we see more of these payors and PBMs continue to try



                                                           4.    Insular nature of the pharmaceutical industry

                                                   314.    The insular nature of the PBM and pharmaceutical industry has

                                             provided PBM Defendants with ample opportunity for contact and communication




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                                             amongst themselves, as well as with Manufacturer Defendants, in order to devise and

                                             agree to the Insulin Pricing Scheme.
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                                                   315.     Each Manufacturer Defendant is a member of the Pharmaceutical




                                             Scheme.

                                                   316.     David Ricks, CEO of Eli Lilly, Paul Hudson, CEO of Sanofi and Douglas

                                             Langa, Executive Vice President of Novo Nordisk, are all part of the members of the

                                             PhRMA board of directors and/or part of the PhRMA executive leadership team.

                                                   317.     PBM Defendants also routinely communicate through direct interaction

                                             with their competitors and the Manufacturers at PBM trade associations and industry

                                             conferences.

                                                   318.     Each year during the relevant time period, the main PBM trade

                                             association, the Pharmaceutical Care Management                                held

                                             several yearly conferences, including its Annual Meeting and its Business Forum

                                             conferences.

                                                   319.     The current board of the PCMA includes Amy Bricker, President of

                                             Express Scripts, Heather Cianfrocco, CEO of OptumRx, and Alan Lotvin, Executive

                                             Vice President of CVS Health and President of CVS Caremark. Past board members

                                             include John Prince, President and COO of Optum, Inc. (and former CEO of

                                             OptumRx); Jon Roberts, Executive Vice President of CVS Health; and Tim

                                             Wentworth, CEO of Evernorth.




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                                                   320.   All PBM Defendants are members of and, as a result of their leadership

                                             positions, control the PCMA. Each Manufacturer Defendant is an affiliate member of
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                                             this organization.

                                                   321.   The PCMA annual conferences appear to be at the center of the Insulin

                                             Pricing Scheme.

                                                   322.   Every year, high-level representatives and corporate officers from both

                                             PBM, including executives from OptumInsight, and Manufacturer Defendants attend

                                             these conferences to meet in person to discuss their shared business opportunities

                                             within the pharmaceutical industry. Defendants also have used these conferences to

                                             engage in private meetings in furtherance of the Insulin Pricing Scheme.

                                                   323.   In fact, for at least the last six (6) years, all of the Manufacturer

                                                                                           of these PBM conferences.

                                                   324.   Notably, many of the forums at these conferences are specifically

                                             advertised as offering opportunities for private, non-public communications. For

                                             example, as Presidential Sponsors of these conferences, Manufacturer Defendants

                                                                                                                             -on-



                                                   325.   From at least 2010-2019, representatives from each Manufacturer

                                             Defendant met privately with representatives from each PBM Defendant during both

                                             the Annual Meetings and Business Forum conferences that the PCMA held each year.

                                                   326.   Prior to these meetings dedicated teams of executives from each

                                                                                                       -




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                                             preparation for these meetings. These reports not only demonstrate the deep

                                             involvement of each Defendant in the Insulin Pricing Scheme, but they also reflect
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                                             the tangled web that gave rise to the Scheme.

                                                   327.   In addition, all PCMA members, affiliates and registered attendees of

                                             these conferences are invited to join PCMA-                             -only LinkedIn

                                                                                                         members, PCMA-Connect

                                             provides PBM and Manufacturer Defendants with a year-round, non-public online

                                             forum to engage in private discussions in furtherance of the Insulin Pricing Scheme.

                                                   328.   Notably, key at-issue lockstep price increases occurred shortly after the

                                             Defendants met at PCMA meetings. For example, on September 26 and 27, 2017 the

                                             PCMA held its annual meeting where each of the Manufacturer Defendants hosted

                                             private rooms and executives from each Defendant engaged in several meetings

                                             throughout the conference. Several days after the conference, on October 1, 2017,



                                             Novo Nordisk recommended that the company make a 4% list price increase on

                                             January 1, 2018 to match the Sanofi increase, which was approved Nov 3, 2017.

                                                   329.   Likewise, on May 30, 2014, Novo Nordisk raised the list price of Levemir

                                             several hours after Sanofi took its list price increase on Lantus and this occurred only

                                             a few weeks after a PCMA spring conference in Washington DC attended by

                                             representatives from all the PBM Defendants.

                                                   330.   Further, the PBMs control the PCMA and have weaponized it to further

                                             their interests and to hide the Insulin Pricing Scheme. The PCMA has brought




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                                             numerous lawsuits and lobbying campaigns aimed at blocking drug pricing

                                             transparency efforts, including recently suing the Department of Health and Human
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                                             Services (HHS) to block the finalized HHS                                               -

                                             kickback safe harbors for Manufacturer Payments and instead offer them to direct-to-

                                             consumer discounts.

                                                   D.     The Insulin Pricing Scheme

                                                   331.   The market for the at-issue diabetes medications is unique in that it is

                                             highly concentrated with, until recently, little to no generic/biosimilar options and the

                                             drugs have similar efficacy and risk profiles. In fact, PBMs treat the at-issue drugs

                                             as commodity products in constructing their formularies.

                                                   332.   In such a market, where manufacturing costs have significantly

                                             decreased, PBMs should have great leverage in negotiating with the Manufacturer

                                             Defendants to drive prices down in exchange for formulary placement.

                                                   333.   But the PBMs do not want the prices for diabetes medications to go down

                                             because they make more money on higher prices. So do the Manufacturers.

                                                   334.   As a result, Defendants have found a way to game the system for their

                                             mutual benefit   the Insulin Pricing Scheme.

                                                   335.

                                             Scheme. Given the asymmetry of information and disparity in market power between

                                             payors and PBM Defendants and the costs associated with making formulary

                                             changes, most payors accept the standard formularies offered by the PBMs.

                                                   336.   Manufacturer Defendants recognize that because PBM Defendants have

                                             such a dominant market share, if they chose to exclude a particular diabetes


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                                             medication from their standard formularies, or give it a non-preferred position, it

                                             could mean billions of dollars in profit loss for Manufacturer Defendants.
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                                                   337.    For example, Olivi



                                             look at the way [CVS Caremark] is organized in the U.S . . . 15 million [lives] are part




                                                   338.    Manufacturer Defendants also recognize that the PBM Defendants

                                             profits are directly tied                                   For example, the January

                                             2021 Senate Insulin Report noted this in summarizing the internal documents

                                             produced by the Manufacturers:

                                                   [B]oth Eli Lilly and Novo Nordisk executives, when considering lower list
                                                   prices, were sensitive to the fact that PBMs largely make their money on

                                                   In other words, the drug makers were aware that higher list prices
                                                   meant higher revenue for PBMs.

                                                   339.    The documents released by the Senate contemporaneous with the

                                             January 2021 Senate Insulin Report further corroborate the degree to which the



                                             August 6, 2015 email, Novo Nordisk executives debated delaying increasing the price

                                             of an at-issue drug in order to make the increase more profitable for CVS Caremark,

                                             stating:

                                                   Should we take 8/18 [for a price increase], as agreed to by our [pricing
                                                   committee], or do we recommend pushing back due to the recent CVS



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                                                   concerns on how we take price? . . . We know CVS has stated their
                                                   disappointment with our price increase strategy (ie taking just after the
                                                   45th day) and how it essentially results in a lower price protection, admin
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                                                   fee and rebate payment for that quarter/time after our increase . . . it has
                                                   been costing CVS a good amount of money.

                                                   340.   Because the Manufacturer Defendants know that            contrary to their

                                             public representations PBM Defendants make more money from increasing prices,

                                             over the course of the last fifteen years and working in coordination with the PBMs,

                                             the Manufacturers have artificially inflated their list prices for the at-issue drugs

                                             exponentially, while largely maintaining their net prices by paying larger and larger

                                             amounts of Manufacturer Payments back to the PBMs.

                                                   341.   During the last fifteen years the amount of Manufacturer Payments paid

                                             to the PBMs has increased substantially. For example, the January 2021 Senate

                                             Insulin Report found that:

                                                   In July 2013, Sanofi offered rebates between 2% and 4% for preferred

                                                   in 2018, Sanofi rebates were as high as 56% for preferred formulary
                                                   placement. Similarly, rebates to Express Scripts and OptumRx increased
                                                   dramatically between 2013 and 2019 for long-acting insulins. For
                                                   example, in 2019, Sanofi offered OptumRx rebates up to 79.75% for

                                                   formulary, compared to just 42% in 2015. Similarly, Novo Nordisk
                                                   offered Express Scripts rebates up to 47% for Levemir for preferred

                                                   to 25% in 2014.

                                                   342.   Beyond increased rebate demands, the PBMs have also requested and

                                             received larger and larger administrative fee payments from the Manufacturers

                                             during the relevant time period.




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                                                     343.   A recent study by the Pew Charitable Trust estimated that, between

                                             2012 and 2016, the amount of administrative and other fees that the PBMs requested
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                                             and received from the Manufacturers tripled, reaching more than $16 billion.

                                                     344.   In exchange for the Manufacturers inflating these prices and paying the

                                             PBMs substantial amounts in Manufacturer Payments, PBM Defendants grant

                                                                                                                             and that

                                             are the most profitable to the PBMs preferred status on their standard formularies.

                                                     345.   At all times relevant hereto the PBM Defendants have known that the

                                             list prices for the at-

                                             price                                                                  10 as to constitute



                                             false and unlawful prices.

                                                     346.   Despite this knowledge, PBMs include this false price     often the AWP

                                             price in their contracts as a basis to set the rate that payors pay for the at-issue

                                             drugs and pharmacies are reimbursed for the at-issue drugs.

                                                     347.   Moreover, the PBMs also use this false price to misrepresent the amount

                                                                                                                               .   For



                                             34th



                                             Likewise, in April 2019, CVS Caremark President and Executive Vice Price President

                                             of CVS Health Corp.


                                             10                                                         Manufacturer Payments paid
                                             to the PBMs.


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                                             has helped our clients save more than $141 billion by blunting drug price inflation,

                                             prioritizing the use of effective, lower-                                          -of-
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                                                   348.

                                             generate to their payor clients and prospective clients.

                                                   349.   In making these representations, the PBMs fail to disclose that the



                                             which is not paid by any entity in the pharmaceutical pricing chain and which the

                                             PBMs are directly responsible for artificially inflating.

                                                   350.   Importantly, the Insulin Pricing Scheme is a coordinated effort between

                                             the Manufacturer and PBM Defendants, that each agreed to and participated in and

                                             that created enormous profits for all of Defendants. For example:

                                                          Manufacturers and PBMs are in constant communication and regularly
                                                          meet and exchange information to construct and refine the PBM
                                                          formularies that fuel the scheme. As part of these communications, the
                                                          Manufacturers are directly involved in determining not only where their
                                                          own diabetes medicat
                                                          what restrictions, but also determining the same for competing products;

                                                          Manufacturers and PBMs share confidential and proprietary
                                                          information with each other in furtherance of the Insulin Pricing
                                                          Scheme, s
                                                          tracking efforts and mail order pharmacy claims, internal medical
                                                          efficacy studies and financial data. Defendants then use this information
                                                          in coordination to set the false prices for the at-issue medications and
                                                          construct their formularies in the manner that is most profitable for both
                                                          sets of Defendants. The data that is used to further this coordinated
                                                          scheme is compiled, analyzed and shared either by departments directly
                                                          housed within the PBM or by subsidiaries of the PBM, as is the case with
                                                          OptumRx which utilizes OptumInsight and Optum Analytics; and

                                                          Manufacturers and PBMs engage in coordinated outreach programs
                                                          directly to patients, pharmacies and prescribing physicians to convince


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                                                          them to switch to the diabetes medications that are more profitable for
                                                          the PBMs and Manufacturers, even drafting and editing letters in
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                                                          For example, the January 2021 Senate Insulin Report released an email
                                                          where Eli Lilly discussed paying Defendant UnitedHealth Group and
                                                          OptumRx additional rebates for every client that was converted to
                                                                                                                    -issue drugs,
                                                          including Humalog. The email
                                                          committee made one ask of Lilly that we are highly engaged in the
                                                          communication/pull through plan.11 I of course indicated we fully expect
                                                                                                                      -issue drugs
                                                          favored by United] and provider education with the full breadth of Lilly
                                                          resources. UHC also proactively thanked Lilly for our responsiveness,
                                                          solution generation and DBU execution

                                                   351.   Far from using their prodigious bargaining power to lower drug prices as

                                             they claim, Defendants use their dominant positions to work together to generate

                                             billions of dollars at the expense of Illinois diabetics and payors.

                                                   E.     Defendants Admit That They Have Engaged in the Insulin
                                                          Pricing Scheme

                                                   352.   On April 10, 2019, the United States House of Representatives




                                             11

                                             Manufacturers aimed at moving market share and increasing sales for a certain product
                                             following the PBM granting that product preferred placement on its formulary.


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                                                                          of a Lifesaving Drug: Getting Answers on the Rising Cost
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                                                    353.   Representatives from all Defendants testified at the hearing and each

                                             acknowledged before Congress that the price for insulin has increased exponentially

                                             in the past fifteen (15) years.

                                                    354.   Representatives from each Defendant explicitly admitted that the price

                                             that diabetics have to pay out-of-pocket for insulin is too high. For example:


                                                           meaningful competition allows the [M]anufacturers to set high [list]
                                                           prices and continually increase them which is odd for a drug that is
                                                           nearly 100 years old and which has seen no significant innovation in
                                                           decades. These price increases have a real impact on consumers in the
                                                           form of higher out-of-

                                                           Thomas Moriarty, Chief Policy and External Affairs Officer and
                                                           General Counsel for CVS Health
                                                           to achieving good health is cost, including the price of insulin products
                                                           which are too expensive for too many Americans. Over the last several
                                                           years, [list] prices for insulin have increased nearly 50 percent. And
                                                           over the last ten years, [list] price of one product, Lantus, rose by 184


                                                           Mike Mason, Senior Vice President of Eli Lilly when discussing how
                                                           much diabetics pay out-of-
                                                           to hear anyone in the diabetes community worry about the cost of



                                                           Kathleen Tregoning, Executive Vice President External Affairs at
                                                                                                                               out-of-
                                                           pocket costs and we all have a responsibility to address a system that
                                                           is clearly failing too many people. . . we recognize the need to address
                                                           the very real challenges of affordability . . . Since 2012, average out-of-




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                                                           pocket costs for Lantus have risen approximately 60 percent for
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                                                           issue of affordability . . . I will tell you that at Novo Nordisk we are
                                                           accountable for the [list] prices of our medicines. We also know that [list]
                                                           price matters to many, particularly those in high-deductible health plans


                                                   355.    Notably, none of the testifying Defendants claimed that the significant

                                             increase in the price of insulin was related to competitive factors such as increased

                                             costs or improved clinical benefit.

                                                   356.    None of the Defendants pointed to any other participant in the

                                             pharmaceutical pricing chain as responsible for the exorbitant price increases for

                                             these diabetes medications nor could they for these Defendants collectively are

                                             solely responsible for the price of almost every single vial of insulin sold in the United

                                             States.

                                                   357.    Defendants admitted that they agreed to and did participate in the

                                             Insulin Pricing Scheme and that the rise in prices was a direct result of the scheme.

                                                   358.

                                             President, Doug Langa, ex



                                                   [T]here is this perverse incentive and misaligned incentives (in the
                                                   insulin pricing system) and this encouragement to keep [list] prices high.
                                                   And                                              because the higher the [list]
                                                   price, the higher the rebate . . . There is a significant demand for rebates.
                                                   We spend almost $18 billion in rebates in 2018 . . . [I]f we eliminate all
                                                   the rebates . . . we would be in jeopardy of losing [our formulary]
                                                   positions. (Emphasis added).




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                                                      359.   Eli Lilly, too, has admitted that it raises list prices as a quid pro quo for

                                             formulary positions. At the April 2019 Congressional hearing, Mike Mason, Senior
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                                             Vice President of Eli Lilly testified:

                                                      Seventy-five percent of our [list] price is paid for rebates and discounts
                                                      to secure [formulary position] . . . $210 of a vial of Humalog is paid for
                                                      discounts and rebates. . . We have to provide rebates [to PBMs] in order
                                                      to provide and compete for [formulary position].

                                                      360.   Sanofi has also conceded its participation in the Insulin Pricing Scheme.

                                             When testifying at the April 2019 Congressional hearing, Kathleen Tregoning,

                                             Executive Vice President for External Affairs of Sanofi, testified:

                                                      The rebates are how the system has evolved. . . I think the system became
                                                      complex and rebates generated through negotiations with PBMs are
                                                      being used to finance other parts of the healthcare system and not to
                                                      lower prices to the patient.

                                                      361.   PBM Defendants also admitted at the April 2019 Congressional hearing

                                             that they grant preferred, or even exclusive, formulary position because of higher

                                             Manufacturer Payments paid by Manufacturer Defendants.

                                                      362.   Amy Bricker, President of Express Scripts, when asked to explain why

                                             Express Scripts did not grant an insulin with a lower list price preferred formulary

                                                                   Manufacturers do give higher [payments] for exclusive [formulary]



                                                      363.   While all Defendants acknowledged their participation in the Insulin

                                             Pricing Scheme before Congress, in an effort to avoid culpability for the precipitous

                                             price increase each Defendant group pointed the finger at the other as the responsible

                                             party.




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                                                   364.   PBM Defendants specifically testified to Congress that Manufacturer

                                             Defendants are solely responsible for their price increases and that the Manufacturer
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                                             Payments that the PBMs receive are not correlated to rising insulin prices.

                                                   365.   This statement is objectively false. The Manufacturers coordinated,

                                             lockstep price increases are a direct reflection of the PBMs coordinated requests for

                                             larger Manufacturer Payments. A February 2020 study by the Leonard D. Schaeffer



                                             Association Be

                                             amount that the Manufacturers pay back to the PBMs is directly correlated to an

                                             increase in prices on average, a $1 increase in Manufacturer Payments is associated

                                             with a $1.17 increase in price and that reducing or eliminating Manufacturer

                                             Payments could result in lower prices and reduced out-of-pocket expenditures.

                                                   366.   In addition, in a 2019 report the National Community Pharmacists

                                             Association estimated that Manufacturer Payments add nearly 30 cents per dollar to

                                             the price consumers pay for prescriptions.

                                                   367.   Further, in large part because of the increased list prices, and related

                                             Manufacturer Payments, PBMs profit per prescription has grown exponentially over

                                             the same time period that insulin prices have been increasing. By way of example,

                                             since 2003 Defendant Express Scripts has seen its profit per prescription increase over

                                             500 percent per adjusted prescription.




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                                                   368.   The Manufacturers, on the other hand, argued before Congress that the

                                             PBMs were to blame for high insulin prices because of their demands for higher
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                                             Manufacturer Payments in exchange for formulary placement.

                                                   369.   However, that also is not true. For example, a 2020 study from the




                                             substantial profits from the sale of insulin products regardless of any Manufacturer

                                             Payments they are sending back to the PBMs. During the same time period when



                                             shareholders in the form of cash dividends and share repurchases totaled $122 billion.

                                             In fact, during this time period the Manufacturers spent a significantly lower

                                             proportion of profits on research and development compared to shareholder payouts.

                                                   370.   The January 2021 Senate Insulin Report concluded, inter alia:

                                                          Manufacturer Defendants are retaining more revenue from insulin
                                                          than in the 2000s for example, Eli Lilly has reported a steady increase
                                                          in Humalog revenue for more than a decade from $1.5 billion in 2007
                                                          to $3 billion in 2018;

                                                          Manufacturer Defendants have aggressively raised the list price of
                                                          their insulin products absent significant advances in the efficacy of the
                                                          drugs; and

                                                          Manufacturer Defendants only spend a fraction of their revenue related
                                                          to the at-issue drugs on research and development Eli Lilly spent $395
                                                          million on R&D costs for Humalog, Humulin and Basaglar between
                                                          2014-2018 during which time the company generated $22.4 billion in
                                                          revenue on these drugs. From 2016 to 2020, Novo Nordisk spent
                                                          approximately $29 billion on stock buybacks and shareholder dividend
                                                          payouts while only spending approximately $12 billion on R&D costs.




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                                                    371.   The truth is despite their finger pointing in front of Congress

                                             Manufacturers and PBMs are both responsible for their concerted efforts in creating
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                                             the Insulin Pricing Scheme. This reality was echoed in the statement from the Senate

                                                                                                              -year probe into the

                                             Insulin Pricing Scheme:

                                                    [M]anufacturers and [PBMs] have created a vicious cycle of price
                                                    increases that have sent costs for patients and taxpayers through the
                                                    roof . . . This industry is anything but a free market when PBMs spur
                                                    drug makers to hike list prices in order to secure prime formulary
                                                    placement and greater rebates and fees.

                                                    F.     Defendants Profit Off the Insulin Pricing Scheme

                                                           1.     Manufacturers Profit Off Insulin Pricing Scheme

                                                    372.   For Manufacturer Defendants, the Insulin Pricing Scheme affords them

                                             the ability to pay the PBM Defendants significant, yet undisclosed, Manufacturer

                                             Payments in exchange for formulary placement           which garners Manufacturer

                                             Defendants greater revenues from sales without decreasing their profit margins.

                                             During the relevant time period, PBM Defendants granted preferred formulary

                                             position to each at-issue drug in exchange for large Manufacturer Payments and

                                             inflated prices.

                                                    373.   Manufacturer Defendants also use the inflated price to earn hundreds of

                                             millions of dollars in additional tax breaks by basing their deductions for donated

                                             insulins on the inflated list price.

                                                           2.     PBMs Profit Off Insulin Pricing Scheme

                                                    374.   Because of the increased list prices, and related Manufacturer Payments,

                                             PBMs profit per prescription has grown exponentially during the relevant time


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                                             period. A recent study published in the Journal of the American Medical Association

                                                                  of the Share of Net Expenditures on Insulin Captured by US
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                                             Manufacturers, Wholesalers, Pharmacy Benefit Managers, Pharmacies and Health



                                             Defendants for each insulin prescription increased over 150% from 2014 to 2018. In

                                             fact, for transactions where the PBM Defendants control the insurer, the PBM and

                                             the pharmacy (i.e. Aetna-Caremark-CVS pharmacy) these Defendants now capture an

                                             astonishing 50% of the money spent on each insulin prescription (up from only 25% in

                                             2014), despite the fact that they do not contribute to the development, manufacture,

                                             innovation or production of the product.

                                                   375.    PBM Defendants profit off the artificially inflated prices created by the

                                             Insulin Pricing Scheme in myriad ways, including (1) retaining a significant        yet

                                             undisclosed percentage of the Manufacturers Payments, (2) using the inflated price

                                             to generate profits from pharmacies in their networks and (3) relying on the inflated

                                                                              profits through their own mail order and retail

                                             pharmacies.

                                                                 a)     PBMs pocket most of the secret Manufacturer Payments

                                                   376.    The first way in which the PBMs profit off the Insulin Pricing Scheme is

                                             by keeping a significant portion of the secret Manufacturer Payments.

                                                   377.    The amount that the Manufacturers pay back to the PBMs has

                                             accelerated to represent a large percentage of the list price of diabetes medications.




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                                                    378.   Historically, when PBMs contracted with payors, the contract allowed

                                             the PBM to keep all or at least some of the Manufacturer Payments they received,
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                                             rather than pass them along to the payor.

                                                    379.   Over time, payors have secured contract provisions guaranteeing them

                                                                                           the Manufacturers to the PBMs. But

                                             critically                                               Manufacturer Payments.

                                                    380.                                                                          -

                                             the-                                                   etween them (and not shared

                                             with payors) is labeled and relabeled. As more payors moved to contracts that require



                                             have begun renaming the Manufacturer Payments in order to keep a larger portion of



                                             volume discounts, service fees, inflation fees or other industry jargon terms designed

                                             to obfuscate and distract from the substantial sums being secretly exchanged.

                                                    381.   And these renamed secret Manufacturer Payments are indeed

                                             substantial. A heavily redacted complaint filed by Defendant Express Scripts revealed

                                             that

                                             passes through to payors in formulary rebates.

                                                    382.

                                             5-0 to issue a policy statement expressing its intent to closely scrutinize such PBM

                                             Defendant practices related to Manufacturer Payments to determine if these practices

                                             constitute unfair and deceptive practices. In its policy statement, the FTC cited




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                                             specifically to the effect that Manufacturer Payments have in the context of the

                                             exorbitant insulin prices and the devastating impact such practices have on the lives
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                                             of diabetics.

                                                    383.     In addition, the PBMs have come up with numerous ingenious methods

                                             to hide these renamed Manufacturer Payments in order keep them for themselves.

                                                    384.     For example, with regard to the Manufacturer Payments now known as

                                                                             often create a hidden gap between how much the

                                             Manufacturers pay them to increase their prices and the amount in price protection

                                             guarantees that the PBMs agree to pay back to their client payors.

                                                    385.     In particular, the Manufacturer Defendants often pay the PBM

                                             Defendants                   in order to increase the price of their diabetes medications.

                                             The thresholds for these payments are typically set around 6% to 8%                if the

                                             Manufacturer Defendants raise their prices by more than 6% (or 8%) during a

                                             specified time period they pay the PBM Defendants an additional                    (based

                                             on a percentage of the artificially inflated prices).

                                                    386.                                                              price protection

                                             guarantees          state that if the overall drug prices for that payor increase by more

                                             than a set amount, then the PBMs will revert a portion of that amount back to these

                                             clients.

                                                    387.     T                    price protection guarantees at a higher rate than

                                             the thresholds that trigger the Manufacture                      , usually around 12%-

                                             15%.




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                                                   388.   If the Manufacturers increase their list prices more than the 6% (or 8%)

                                             inflation fee rate but less than the 10%-15% client price protection guarantee rate,
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                                             then the PBMs can keep 100% of these                 payments. This is a win-win for

                                             the Manufacturers and PBMs     they get to mutually retain and share all of the benefit

                                             of these price increases.

                                                   389.   Another method that the PBMs have devised to hide the renamed

                                             Manufacturer Payments is                                                       Rebate

                                             aggregators, sometimes referred to as rebate group purchasing organizations



                                             manufacturers, including the Manufacturers, on behalf of a large group of pharmacy

                                             benefit managers (including the PBM Defendants) and different entities that contract

                                             for pharmaceutical drugs.

                                                   390.   These rebate aggregators are often owned and controlled by the PBM

                                             Defendants, such as Ascent Health Services (Express Scripts), Coalition for Advanced

                                             Pharmacy Services and Emisar Pharma Services (OptumRx), and Zinc (CVS

                                             Caremark).

                                                   391.   The PBMs carefully guard the revenue streams from their rebate

                                             aggregator activities, hiding them in complex contractual relationships and not

                                             reporting them separately in their quarterly SEC filings.

                                                   392.   Certain rebate aggregator companies are located offshore, for example,

                                                                                                              (             Emisar

                                             Pharma Services), making oversight even more difficult.




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                                                   393.   Moreover, during the relevant time period the PBM Defendants have

                                             used their controlled rebate aggregator entities in furtherance of their conspiracy.
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                                             For example, a 2017 audit conducted by a local governmental entity on Defendant

                                             OptumRx related to its PBM activities from January 1, 2013 until December 31, 2015

                                             concluded that the auditor was unable to verify the percentage of rebates OptumRx

                                             passed through to its client payor because OptumRx would not allow the auditor

                                             access to its rebate contracts. The audit report explained:

                                                   Optum[Rx] has stated that it engaged the services of an aggregator to
                                                   manage its rebate activity. Optum[Rx] shared that under this model,
                                                   they are paid by their aggregator a certain amount per prescription
                                                   referred. Then, the aggregator, through another entity, seeks rebates
                                                   from the drug manufacturers, based upon the referred [Payor Client]
                                                   prescription utilization, and retains any rebate amounts that may be
                                                   received. Optum[Rx] states that they have paid [Payor Client] all
                                                   amounts it has received from its aggregator, and that they do not have
                                                   access to the contracts between the aggregator (and its contractors) and
                                                   the manufacturer. However, our understanding is that Optum[Rx] has
                                                   an affiliate relationship with its aggregator.

                                                   394.

                                             Coalition for Advanced Pharmacy Services (CAPS), and CAPS in turn contracted with



                                                   395.   In other words, according to this audit report, OptumRx contracts with

                                             its own affiliate rebate aggregator, Coalition for Advanced Pharmacy Services, who

                                             then contracts with                -conspirator, Express Scripts, who then contracts

                                             with the Manufacturers for

                                             OptumRx then uses this complex relationship between itself, its affiliate, and its co-




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                                             conspirator to obscure the amount of Manufacturer Payments that are being

                                                                                  .
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                                                   396.   The January 2021 Senate Insulin Report contained the following

                                             observation on these rebate aggregators:

                                                   [I]t is noteworthy that industry observers have suggested that the recent
                                                   partnership between Express Scripts and Prime Therapeutics may serve
                                                   as a vehicle to avoid increasing legislative and regulatory scrutiny
                                                   related to administrative fees by channeling such fees through a Swiss-
                                                   based group purchasing organization (GPO), Ascent Health. While there
                                                   are several regulatory and legislative efforts underway to prohibit
                                                   manufacturers from paying administrative fees to PBMs, there is no
                                                   such effort to change the GPO safe harbor rules. New arrangements used
                                                   by PBMs to collect fees should be an area of continued investigative
                                                   interest for Congress.

                                                   397.   Because the PBMs are able to hide (and retain) a majority of the secret

                                             Manufacturer Payments that they receive, they are able to make significant profits on

                                             the Insulin Pricing Scheme.

                                                   398.   Even in the rare cases where certain sophisticated payor clients receive

                                             a portion of the Manufacturer Payments from their particular pharmacy benefit

                                             manager (whether it is a PBM Defendant or not), those payors are still significantly

                                             overcharged as a direct result of the Insulin Pricing Scheme given the extent to which

                                             Defendants have inflated the prices of the at-issue drugs.

                                                                b)     PBMs profit off pharmacies

                                                   399.   A second way that PBM Defendants profit off the Insulin Pricing Scheme

                                             is by using the artificially inflated price generated by the scheme to profit off the

                                             pharmacies with whom they contract, including those in Illinois.




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                                                    400.   PBM Defendants decide which pharm

                                             network and how much they will reimburse these pharmacies for each drug dispensed.
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                                                    401.   PBMs pocket the spread between the amount that the PBMs get paid by

                                             their clients for the at-issue drugs (which is based on the artificially generated prices

                                             generated by the Insulin Pricing Scheme) and the amount the PBM reimburses the

                                             pharmacy (which is often less).

                                                    402.   PBMs do not disclose to their clients or network pharmacies how much

                                             the PBM is receiving from or paying to the other.

                                                    403.   This spread pricing, like the secret Manufacturer Payment negotiation,

                                             happens behind closed doors. There is no transparency, no commitment from PBM

                                             Defendants to take into account the cost effectiveness of a drug, and no communication

                                             to either the payor or the pharmacy to let them know if they are getting a fair deal.

                                             The higher the Manufacturers inflate their prices, the more money the PBMs make

                                             off this spread.

                                                    404.   PBMs also use the Insulin Pricing Scheme to generate additional profits

                                             from pharmacies by charging the pharmacies post-purchase fees, including DIR fees12,

                                             based on the artificially inflated prices generated by the Scheme and again, the

                                             higher the list price for each diabetes medication sold, the more the PBMs generate in

                                             these pharmacy fees.




                                             12                  -purchase concessions pharmacies pay back to the PBMs.


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                                                                c)      Insulin Pricing Scheme increases PBM mail order and
                                                                        retail pharmacy profits
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                                                   405.   A third way PBMs profit off the Insulin Pricing Scheme is through the

                                             PBM Defendants own mail order and retail pharmacies. The higher the price that

                                             PBM Defendants are able to get their customers, such as Illinois diabetics and payors,

                                             including the State, to pay for diabetes medications, the higher the profits PBM

                                             Defendants realize through their mail order and retail pharmacies.

                                                   406.   Because the PBMs base the price they charge for the at-issue diabetes

                                             medications on the list price, the more the Manufacturers inflate these prices, the

                                             more money the PBMs make.

                                                   407.   PBMs also charge the Manufacturer Defendants fees related to their

                                             mail order pharmacies, such as pharmacy supplemental discount fees, indirect

                                             purchase fees and rebates, that are directly tied to the false prices generated by the

                                             Insulin Pricing Scheme. Thus, once again, the higher the price is, the more money the

                                             PBMs make on these fees.

                                                   408.   Another way the PBMs generate pharmacy profits from the inflated

                                             prices generated by the Insulin Pricing Scheme is by way of an arbitrage purchase

                                             scheme. Because of their coordinated efforts with the Manufacturers in furtherance

                                             of the Insulin Pricing Scheme, the PBMs often know when the Manufacturers are

                                             going to raise their prices. The PBMs use this knowledge to purchase large quantities

                                             of the at-issue drugs prior to the price increases at a lower price. The PBMs then

                                             charge diabetics and payors the higher price after the increase




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                                                    409.    In sum, every way that the PBMs make money on diabetes medications

                                             is directly tied to the artificially inflated list prices generated by the Insulin Pricing
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                                             Scheme. PBMs are not lowering the price of diabetes medications as they publicly

                                             represent     rather they are making billions of dollars by fueling these skyrocketing

                                             prices.

                                                    G.      Illinois Diabetics Purchase the At-Issue Drugs from Defendants

                                                    410.    During the relevant time period,

                                             retail pharmacies dispensed the at-issue drugs to and were paid by Illinois diabetics

                                             based on the inflated list prices generated by the Insulin Pricing Scheme.

                                                    H.      Defendants Deceived Illinois Diabetics

                                                    411.    At no time have either Defendant group disclosed the Insulin Pricing

                                             Scheme or the artificially inflated list prices produced by it.

                                                            1.     Manufacturer Defendants deceived Illinois Diabetics

                                                    412.    At all times during the relevant time period, Manufacturer and PBM

                                             Defendants knew that diabetics and payors relied on the artificially inflated list prices

                                             generated by the Insulin Pricing Scheme to pay for the at-issue drugs. That is, Illinois

                                             diabetics and payors relied on the artificially inflated list prices by purchasing diabetic

                                             medications at such prices.

                                                    413.    Manufacturer and PBM Defendants further knew that Illinois diabetics

                                             and payors expected and desired to pay the lowest fair-market price possible for the

                                             at-issue drugs.

                                                    414.    Manufacturer and PBM Defendants knew that the artificially inflated

                                             list prices generated by the Insulin Pricing Scheme were false and completely


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                                             untethered from the net prices that the Manufacturer Defendants were paid for the

                                             drugs.
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                                                      415.   As the list prices for the at-issue drugs detached completely from actual

                                             prices, the list prices became increasingly misrepresentative to the point of becoming

                                             unlawful.

                                                      416.   Despite this knowledge, Manufacturer Defendants caused the artificially

                                             inflated list prices generated by the Insulin Pricing Scheme to be published

                                             throughout Illinois through publishing compendia and in various promotional and

                                             marketing materials distributed by entities downstream in the drug supply chain.

                                                      417.   Manufacturer Defendants also published these prices to the PBMs and

                                             their pharmacies who then knowingly use the false prices to set the amount payors

                                             and diabetics pay for the at-issue drugs.

                                                      418.   By publishing their prices throughout Illinois, the Manufacturers held

                                             these prices out as a reasonable price by which to base the prices diabetics and payors

                                             pay for the at-issue drugs.

                                                      419.   These representations are false. Manufacturer Defendants knew that

                                             their artificially inflated list prices were not remotely related to the net price they

                                             received for the at-issue drugs and were not based on transparent or competitive

                                             factors such as cost of production or research and development.

                                                      420.   Notably, during the relevant time period, the Manufacturers published

                                             prices in Illinois of $300-$400 for the same at-issue drugs they could have priced at

                                             less than $2 and still been profitable.




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                                                   421.    Manufacturer Defendants have also publicly represented that they price

                                             the at-                                                                          nd the
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                                             need to fund innovation. For example, briefing materials prepared for Chief Executive

                                             Officer (CEO) Dave Ricks as a panelist at the 2017 Forbes Healthcare Summit



                                             and development costs for insulin. During the relevant time period, executives from

                                             Sanofi and Novo Nordisk also represented that research and development costs were

                                             key factors driving the at-issue price increases.

                                                   422.    These statements are also false. Between 2005 and 2018, Eli Lilly only

                                             spent $680 million on R&D costs related to Humalog while earning $31.35 billion in

                                             net sales during that same time period. In other words, Eli Lilly made more than 46

                                             times its reported R&D costs on Humalog during this portion of the relevant time

                                             period. And Novo Nordisk has spent triple the amount it spends on R&D on stock

                                             buyouts and shareholder dividend payouts in recent years.

                                                   423.    The Manufacturers list prices were artificially inflated in furtherance of

                                             the Insulin Pricing Scheme to generate profits for the Manufacturer and PBM

                                             Defendants.

                                                   424.    Manufacturer Defendants affirmatively withheld the truth from Illinois

                                             diabetics and payors and specifically made these misrepresentations in furtherance of

                                             the Insulin Pricing Scheme and to induce reliance in payors and diabetics to purchase

                                             their at-issue drugs.




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                                                   425.                                                            artificially inflated

                                             list prices harmed diabetics and payors by requiring that their contracts with both
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                                             pharmacies and with payors include such prices as the basis for payment.

                                                   426.   PBMs perpetuate the use of the artificially inflated insulin prices

                                             because it allows them to obscure the actual price any entity in the drug pricing chain

                                             is paying for the at-issue drugs. This lack of transparency affords Defendants the

                                             opportunity to construct and perpetuate the Insulin Pricing Scheme, and to profit

                                             therefrom.

                                                          2.     PBM Defendants deceived Illinois diabetics

                                                   427.   PBM Defendants have deceived diabetics and payors in Illinois.

                                                   428.   Throughout the relevant time period, PBM Defendants have consistently

                                             and repeatedly represented that: (a) their interests are aligned with diabetics and

                                             payors; (b) they work to lower the price of the at-issue drugs and, in doing so, they

                                             achieve substantial savings for diabetics and payors; and (c) that the PBMs construct

                                             formularies designed to improve the health of diabetics.

                                                   429.    PBMs understand that diabetics and payors and their beneficiaries rely

                                             on the PBMs to achieve the lowest prices for the at-issue drugs and to construct

                                             formularies designed to improve their health.

                                                   430.   At no time have the PBM Defendants disclosed their knowledge of the

                                             artificially inflated list prices for the at-issue drugs; to the contrary, the PBMs ensured

                                             that diabetics and payors pay based on those artificially inflated list prices.

                                                   431.   In addition to the general PBM misrepresentations discussed above in

                                             the Parties section, throughout the relevant time period, PBM Defendants have


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                                             purposefully, consistently, and routinely made misrepresentations specifically about

                                             the at-issue Manufacturer Payments, formulary construction,
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                                             the diabetic pricing system. Examples include:

                                                         In a public statement issued on May 11, 2010, CVS Caremark

                                                         PBM clients and improve the health of plan members . . . a PBM client
                                                         with 50,000 employees whose population has an average prevalence of
                                                         diabetes could save approximately $3.3 million a year in medical


                                                         On June 22, 2010, Andrew Sussman, Chief Medical Officer of CVS
                                                                                                   is working to develop


                                                         In a public statement issued in November 2012, CVS Caremark



                                                         On August 31, 2016, Glen Stettin, Senior Vice President and Chief
                                                         Innovation Officer at Express Scripts released a statement that stated

                                                         of costs for payors . . . [Express Scripts] helps our clients and diabetes
                                                         patients prevail over cost and care challenges created by this terrible


                                                             Mr. Stettin continued on to represent that Express Scripts

                                                             curve of what is currently the costliest class of traditional prescription


                                                         In January 2017, Tim Wentworth, CEO of Express Scripts represented



                                                             Mr Wentworth continued on to state Express Scripts is dedicated to



                                                         On June 1, 2018, Mark Merritt, President of the PCMA, in response to a
                                                                                                                            ed,




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                                                                                                                                r
                                                          affordability and cost predictability so they can focus on what matters
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                                                          most: their well-being.



                                                          number of steps to address the impact of insulin price increases. We

                                                          behalf of employers, unions, government programs, and beneficiaries


                                                          Chief Medical Officer of OptumRx, testified before the U.S. Congress in

                                                          brand manufacturers to obtain significant discounts off list prices on


                                                          The   PCMA     website   contains   the   following    misrepresentations,

                                                          alternatives, leading to higher list prices on new and existing brand
                                                          insulins. PBMs work hard to drive down costs using formulary


                                                   432.   PBM Defendants not only falsely represent that they negotiate with

                                             Manufacturer Defendants to lower the price of the at-issue diabetes medications for

                                             payors, but also for diabetic patients as well. Examples include:

                                                                                                                        a]t Express
                                                                                                              patients and clients .
                                                          . . This commitment defines our culture, and all our collective efforts are
                                                          focused on our mission to make the use of prescription drugs safer and
                                                                                  asis added).

                                                          Amy Bricker, President at Express Scripts testified before Congress in

                                                          companies on behalf of our clients, generating savings that are returned
                                                          to patients in the form of lower premiums and reduced out-of-pocket


                                                          Amy Bricker of Express Scripts also testified at the Congressional
                                                                                                                patients with
                                                          diabetes and creating affordable access to their m
                                                          added).


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                                                                                                                            improve
                                                          health outcomes for patients while making prescription drugs more
                                                          affordable for plan sponsors and individuals, and more sustainable for
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                                                          the country . . . the reason is simple: drug manufacturers are responsible
                                                          for the high cost of prescription drugs . . . OptumRx negotiates better
                                                          prices with drug manufacturers for our customers and consumers . . . At
                                                          OptumRx, our mission is helping people live healthier lives and to help
                                                          make the health system work better for everyone. (Emphasis added).

                                                          In its 2017 Drug Report, CVS Caremark stated that the goal of its

                                                          with the value it delivers in terms of patient outcomes . . . in 2018, we are
                                                          doing even more to help keep drugs affordable with our new Savings
                                                          Patients

                                                                                                                     -of-pocket (OOP)
                                                          payments flat for beneficiarie


                                                          to deploy the broadest range of tools to rein in high drug prices, [which]
                                                          demonstrates our commitment to delivering better prices for consumers

                                                   433.   Not only have PBM Defendants intentionally misrepresented that they

                                             use their market power to save payors and diabetics money, they have specifically,

                                             knowingly, and falsely disavowed that their conduct drives the artificially inflated list

                                             prices higher. Examples include:




                                                          Larry Merlo, head of CVS Caremark sounded a similar refrain in
                                                                                               are causing prices to rise is



                                                          that PBMs play no role in rising drug prices, stating that PBMs work to


                                                          During the April 2019 Congressional hearings, when asked if PBM-
                                                          negotiated rebates and discounts were causing the insulin price to




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                                                          In 2019, when testifying under oath before Congress on the rising price
                                                          of insulins, Senior Vice President Amy Bricker of Express Scripts



                                                   434.   Throughout the relevant time period, PBM Defendants have also

                                             misrepresented that they are transparent about the Manufacturer Payments that

                                             they receive and that they pass along (or do not pass along) to payors. As stated above,

                                             PBM Defendants retain many times more in total Manufacturer Payments than the

                                                                                                       in whole or part to payors.

                                                   435.

                                             to fully understand our pricing structure . . . [e]veryday we strive to show our

                                             commitment to our clients, and one element of that commitment is to be open and



                                                   436.

                                                                                                                                   e



                                                                                                  .

                                                   437.   When testifying before Congress in April 2019, Amy Bricker, President

                                             of Express Scripts, had the following exchange with Representative John Sarbanes of

                                             Maryland regarding the transparency (and lack thereof) of the Manufacturer

                                             Payments:

                                                   Ms. Bricker. The rebate system is 100 percent transparent to the plan
                                                   sponsors and the customers that we service. To the people that hire us,
                                                   employers of America, the government, health plans, what we negotiate


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                                                   for them is transparent to them. . . [However] the reason I'm able to get

                                                   confidential [to the public].
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                                                   Mr. Sarbanes. What about if we made it completely transparent? Who
                                                   would be for that?

                                                   Ms. Bricker. Absolutely not . . . it will hurt the consumer.



                                                   Ms. Bricker    prices will be held high.

                                                   Mr. Sarbanes. I am not buying it. I think a system has been built that
                                                   allows for gaming to go on and you have all got your talking points. Ms.
                                                   Tregoning [of Sanofi], you have said you want to guarantee patient access
                                                   and affordability at least ten times, which is great, but there is a
                                                   collaboration going on here . . . the system is working for both of you at
                                                   the expense of the patient. Now I reserve most of my frustration for the
                                                   moment in this setting for the PBMs, because I think the lack of
                                                   transparency is allowing for a lot of manipulation. I think the rebate
                                                   system is totally screwed up, that without transparency there is
                                                   opportunity for a lot of hocus-pocus to go on with the rebates. Because
                                                   the list price ends up being unreal in certain ways except to the extent
                                                   that it leaves certain patients holding the bag, then the rebate is
                                                   negotiated, but we don't know exactly what happens when the rebate is
                                                   exchanged in terms of who ultimately benefits from that. And I think we
                                                   need more transparency and I do not buy the argument that the patient
                                                   is going to be worse off, the consumer is going to be worse off if we have
                                                   absolute transparency . . . I know when you started out, I understand
                                                   what the mission was originally with the PBMs . . . But now things have
                                                   gotten out of control. You are too big and the lack of transparency allows
                                                   you to manipulate the system at the expense of the patients. So I don't buy
                                                   the argument that the patient and consumer is going to get hurt if we
                                                   have absolute transparency. (Emphasis added)

                                                   438.   Throughout the relevant time period, the PBMs have made the foregoing

                                             misrepresentations consistently and directly to Illinois diabetics through member

                                             communications, formulary change notifications, and through extensive direct-to-

                                             consumer pull through efforts engaged in with the Manufacturers.




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                                                   439.   PBM Defendants also make these same representations directly to their

                                             payor clients, including the State that their interests are aligned with their payor
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                                             clients, that they lower the price of the at-issue drugs, and that their formulary

                                             construction is for the benefit of diabetics and payors.

                                                   440.   The above stated PBM Defendants representations are false.

                                                   441.   Contrary to their representations that they lower the price of the at-issue

                                             drugs for diabetics and payors,                                      the Manufacturer

                                             Payments they receive in exchange for formulary placement have caused the price

                                             paid by diabetics and payors to significantly increase.

                                                   442.   For example, both diabetics and payors in Europe and Canada pay

                                             significantly less for their diabetes medications than diabetics in the United States

                                             who are affected by the Insulin Pricing Scheme.

                                                   443.   In addition, diabetics that receive their medications from federal

                                             programs that do not utilize PBMs also pay significant less. For example, in December

                                             2020, the United States House of Representatives Committee on Oversight and

                                             Reform issued a Drug Pricing Investigation Report that found that federal health care

                                             programs that negotiate directly with the Manufacturers (such as the Department of



                                             billion less from 2011 through 2017 for the at-issue drugs than the Medicare Part D

                                             program which relies on the PBM Defendants to set their at-issue drug prices (and




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                                                    444.   Contrary to their representations that they work to promote the health

                                             of diabetics as a result of the Insulin Pricing Scheme many diabetics have been priced
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                                             out of these life-sustaining medications. As a result, many of these diabetics are forced

                                             to either ration their insulin or to skip doses.

                                             health and can lead to a variety of complications and even death.

                                                    445.   Both    PBM     and    Manufacturer    Defendants     knew    that   these

                                             representations were false when they made them and affirmatively withheld the truth

                                             regarding the     artificially inflated list prices, formulary construction, and

                                             Manufacturer Payments from the Illinois diabetics and the State. Both PBM

                                             Defendants and Manufacturer Defendants intended for Illinois residents with

                                             diabetes to rely on their misrepresentations

                                                    446.   Defendants concealed the falsity of these representations by closely

                                             guarding their pricing structures, agreements, and sales figures.

                                                    447.   Manufacturer Defendants do not disclose to diabetics, payors or the

                                             public the actual prices they receive for the at-issue drugs or the amount in

                                             Manufacturer Payments they pay to the PBM Defendants.

                                                    448.   PBM Defendants do not disclose to diabetics, payors or the public the

                                             details of their agreements with Manufacturer Defendants or the Manufacturer

                                             Payments they receive from them nor do they disclose the details related to their

                                             agreements with payors and pharmacies.

                                                    449.   Each Defendant also conceals its unfair and deceptive conduct by signing

                                             confidentiality agreements with any entity in the supply chain with whom it contracts.




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                                                    450.     PBM Defendants have gone as far as suing governmental entities to

                                             block the release of details on their pricing agreements with Manufacturers and
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                                             pharmacies.

                                                    451.     Even when audited by payors, PBM Defendants often still refuse to

                                             disclose their agreements with Manufacturers and pharmacies, relying on overly

                                             broad confidential agreements, claims of trade secrets and other unnecessary

                                             restrictions.

                                                    452.                                                                        -issue

                                             drugs is evidence that each Defendant knows its conduct is unfair and deceptive.

                                                    453.     To make matters worse, Illinois diabetics have no choice but to pay based

                                                               artificially inflated list prices because they need these medications to

                                             survive, the Manufacturer Defendants make virtually all of the diabetes medications

                                             available in Illinois, and the PBM Defendants completely dominate the pharmacy

                                             benefit services market and control nearly every Manufacturer Payment paid in the

                                             market.

                                                    454.     In sum, the entire insulin pricing structure created by the Defendants

                                             from the false prices, to the Manufacturers misrepresentations related to the reason

                                             behind the price, to the inclusion of the false prices in payor contracts, to the non-



                                             representations that they work to lower prices and promote the health of diabetics

                                             is unfair and deceptive.




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                                                    455.     Illinois diabetics and the State did not know, because the Defendants

                                             affirmatively concealed, that (i) the list prices were artificially inflated; (ii) the list
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                                             prices were manipulated to satisfy                 profit demands; (iii) the list prices bore

                                             no relationship to the net prices paid for the at-issue drugs to the Manufacturers; and

                                             (iv) that the entire insulin pricing structure Defendants created was unfair and

                                             deceptive.

                                                    I.       The Insulin Pricing Scheme Has Damaged Illinois Diabetics

                                                             1.    The Insulin Pricing Scheme has damaged the State by
                                                                   increasing its healthcare costs and decreasing productivity

                                                    456.     As discussed below, the rising price for the at-issue drugs has had a

                                             devastating effect on the health of diabetics. It has also caused a staggering increase

                                             in healthcare costs to the State.

                                                    457.     As a direct result of the Insulin Pricing Scheme, 1 in 4 Illinois diabetics

                                             can no longer afford their diabetes medication and are forced to ration and skip doses.

                                             This forced lack of adherence to their diabetes medications leads to substantial

                                             additional healthcare costs.

                                                    458.     One national model projected that improved adherence to diabetes

                                             medication would avert 699,000 emergency department visits and 341,000

                                             hospitalizations annually, for a savings of $4.7 billion. The model further found that

                                             eliminating the loss of adherence would lead to another $3.6 billion in savings, for a

                                             combined potential savings of $8.3 billion.

                                                    459.     Much of the increased healthcare costs caused by the Insulin Pricing

                                             Scheme are shouldered by the State. As a result of the Insulin Pricing Scheme, the



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                                             amount Illinois spends each year on diabetes-related healthcare costs has risen

                                             dramatically during the relevant time period, now totaling in the billions of dollars
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                                             per year.

                                                   460.   Lack of adherence to diabetes medications also has a significant adverse

                                             effect on labor productivity in terms of absenteeism (missing work due to health-

                                             related reasons), presenteeism (being present at work but not productive), and

                                             disability (inability to perform necessary physical tasks at work).

                                                   461.   This decrease in work productivity has further damaged the State by

                                             injuring its economy and decreasing its tax revenue.

                                                          2.     The Insulin Pricing Scheme has damaged Illinois Diabetics

                                                   462.   Whether insured or not, all Illinois diabetics pay a substantial part of

                                             their diabetic drug costs based on              artificially inflated list prices generated

                                             and thus the Insulin Pricing Scheme has directly damaged Illinois diabetics.

                                                   463.   According to a recent Report to the Illinois General Assembly on Insulin

                                                                       , 95% of Illinois diabetics have reported that they have had

                                             prescribers change insulin products due to cost and 75% of Illinois diabetics have

                                             taken less than their prescribed insulin doses so that their supply would last longer.

                                                   464.   In addition to financial losses, for many diabetics in Illinois, the Insulin

                                             Pricing Scheme has cost them their health and emotional well-being. Unable to

                                                                                                      Illinois have begun to engage

                                             in highly risky behaviors with respect to their disease such as rationing their insulin,



                                             visits. To compensate for their lack of insulin, some patients starve themselves,


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                                             foregoing one or even two meals a day. These practices which ineffectively control

                                             blood sugar levels can lead to serious complications such as kidney disease and
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                                             failure, heart disease and heart attacks, infection, amputation, and blindness, which

                                             harm not only the individual persons affected, but also harm the Illinois healthcare

                                             system as a whole by burdening its resources and the Illinois economy by requiring

                                             additional millions of dollars of additional revenues to be spent.

                                                   465.    Even when diabetics can still afford their diabetic medications, as a

                                             direct result of PBM Defendants shifting which diabetes medications are favored on

                                                                      -

                                             medications every few years or go through a lengthy appeal process (or try the



                                                   466.    Non-medical switching for biologic drugs, such as the at-issue drugs,

                                             causes increased health problems for diabetics and increased healthcare costs for

                                             diabetics, payors, and the healthcare system.

                                                   467.    According to the Illinois Report, Illinois pharmacists and diabetes

                                             educators recently indicated that 96% of their patients experienced a non-medical

                                             switch.

                                                   468.    The Insulin Pricing Scheme has pushed, and will continue to push,

                                             access to these lifesaving drugs out of reach for many diabetes patients in Illinois.

                                                   469.    Because Illinois diabetics continue to pay for the at-issue drugs based on

                                             the artificially inflated prices generated by the Insulin Pricing Scheme, the harm is

                                             ongoing.




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                                                   J.                                        in Response to Rising Insulin Prices

                                                   470.   In reaction to the mounting political and public pressure, Defendants
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                                             recently have taken action, both on Capitol Hill and in the insulin marketplace.

                                                   471.   In recent years,

                                             doubled its spending on federal campaign donations and on lobbying efforts. In 2017

                                             alone, Novo Nordisk spent $3.2 million lobbying Congress and federal agencies, its

                                             biggest ever investment in directly influencing U.S. policymakers.

                                                   472.   Eli Lilly and Sanofi have directed millions of dollars through their PACs

                                             as well in recent years.

                                                   473.   Likewise, the PBM Defendants have steadily increased their political

                                             spending for the past five years as public outcry has grown against them.

                                                   474.    Defendants have also recently begun introducing programs ostensibly

                                             aimed at lowering the cost of insulins.

                                                   475.   These affordability measures fail to address the structural issues that

                                             have given rise to the price hikes. Rather, these steps are merely public relations

                                             stunts that do not solve the problem.

                                                   476.   For example, in March 2019, Defendant Eli Lilly announced that it would



                                                                   quickly with supply chain partners to make [the authorized



                                                   477.   However, in the months after Eli Lilly's announcement, reports raised

                                                                                                               acies.




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                                                    478.      Following this, a Congressional staff report was issued examining the

                                             availability of this drug. The investigative report, Inaccessible Insulin: The Broken
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                                             Promise of Eli Lilly's Authorized Generic, concluded that Eli Lilly's lower-priced,

                                             authorized generic insulin is widely unavailable in pharmacies across the country, and

                                             that the company has not taken meaningful steps to increase insulin accessibility and

                                             affordability.

                                                    479.      The conclusion of the report was that:               failed to deliver on

                                             its promise to put a more-affordable insulin product on the shelves. Instead of giving

                                             patients access to its generic alternative, this pharmaceutical behemoth is still

                                             charging astronomical prices for a drug people require daily and c

                                                    480.      In 2019, Novo Nordisk partnered with Walmart to offer ReliOn brand

                                             insulins for a discounted price at Walmart. However, experts have warned that the

                                             Walmart/Novo Nordisk                                                     regular insulins

                                             and should only be used in an emergency or when traveling. In particular, for many

                                             diabetics, especially Type 1 diabetics, these insulins can be dangerous.

                                                    481.      In fact, in August 2019, a Type 1 diabetic who could no longer afford his

                                             $1,200 a month insulin prescription died months after switching to ReliOn brand

                                             insulin due to complications from the disease.

                                                    482.      Thus,                                                have not addressed

                                             the problem. Illinois diabetics and the State, continue to suffer great harm as a result

                                             of the Insulin Pricing Scheme.




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                                                                              CLAIMS FOR RELIEF

                                                                        FIRST CAUSE OF ACTION
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                                              Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS
                                                             505/1, et seq
                                                                      (Against All Defendants)

                                                   483.   The State re-alleges and incorporates herein by reference each of the

                                             allegations contained in the preceding paragraphs.

                                                   484.   Defendants

                                             provisions of the Consumer Fraud Act, 815 ILCS 505/1.

                                                   485.   The business practices of Defendants fall within

                                                               under 815 ILCS 505/1.

                                                   486.   By engaging in the Insulin Pricing Scheme, as described herein,

                                             Defendants have committed unfair and deceptive acts and practices in the conduct of

                                             trade or commerce within Illinois with the intent that Illinois diabetics rely on them

                                             as prohibited by the Consumer Fraud Act, 815 ILCS 505/2.

                                                   487.   Defendants are both independently liable for their own misconduct in

                                             violation of the Consumer Fraud Act, as well as liable for their collective efforts in

                                             furtherance of the Insulin Pricing Scheme. Using a complex structure of

                                             interdependent entities, Defendants confuse and mislead consumers about each

                                                                                                         ility for the unfair and



                                             interdependent participants.

                                                   488.   In particular, the Defendants engaged in the Insulin Pricing Scheme,

                                             which includes:


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                                                          Manufacturer Defendants engaged in deceptive practices by publishing
                                                          prices for the at-issue drugs and in doing so held these prices out as the
                                                          actual prices for these drugs despite knowing these prices were
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                                                          artificially inflated and untethered from the price the Manufacturers
                                                          were paid for the drugs.

                                                          Manufacturers also made false statements related to the reason behind
                                                          their artificially inflated prices (research and development costs), when
                                                          in fact, the Manufacturers artificially inflated these prices solely for the
                                                          purpose of increasing their profits and offering higher prices and larger
                                                          Manufacturer Payments to the PBMs.

                                                          PBM Defendants ensured that these artificially inflated prices harm
                                                          diabetics and payors by utilizing the inflated prices to set the price paid
                                                          by virtually all payors and Illinois diabetics.

                                                          PBMs represent to the public, diabetics, and their clients that they work
                                                          to lower the price of the at-issue drugs and to promote the health of
                                                          diabetics. In contradiction to these representations, the PBMs have
                                                          driven up the at-issue prices and damaged the health of diabetics by:

                                                             demanding ever increasing Manufacturer Payments which increase
                                                             the at-issue prices. The PBMs have hidden, obfuscated, and
                                                             laundered these Manufacturer Payments through their affiliated
                                                             entities in order to keep a large percentage of these payments;

                                                             selecting higher priced diabetes medications for formulary placement
                                                             and excluding lower priced ones in order to generate larger profits;

                                                             working in coordination with the Manufacturers to increase the
                                                             availability of higher priced diabetes drugs which are more profitable
                                                             for Defendants; and

                                                             engaging in continuous non-medical formula switching of the at-issue
                                                             drugs in order to drive up their profits to the direct detriment to the
                                                             health of diabetics.

                                                   489.   Defendants conduct in furtherance of the Insulin Pricing Scheme also

                                             violates Section 2 of the Consumer Fraud Act because it constitutes deceptive trade

                                             practices under the

                                             including:



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                                                           Representing that goods or services have characteristics and benefits
                                                          that they do not have. 815 ILCS 510/2(a)(5). In particular:
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                                                             Price is a characteristic of every good in Illinois. Manufacturer
                                                             Defendants reported and published artificially inflated prices for each
                                                             at-issue drug and in doing so represented that the reported prices
                                                             were reasonably related to the net prices for the at-issue drugs.

                                                             PBM Defendants misrepresented that their formularies and the
                                                             Manufacturer Payments they receive have the characteristic and
                                                             benefit of lowering the price of the at-issue drugs and promoting the
                                                             health of diabetics.

                                                          Making false and/or misleading statements of fact concerning the
                                                          reasons for, existence of, or amounts of price reductions. 815 ILCS
                                                          510/2(a)(11). In particular:

                                                             PBM Defendants utilized the artificially inflated price which the
                                                             PBMs are directly responsible for inflating and which the PBMs
                                                             know is untethered from the actual price to make false and/or
                                                             misleading statements regarding the amount of savings that the
                                                             PBMs generate for Illinois diabetics, payors, and the Illinois
                                                             healthcare system.

                                                             PBM Defendants also misrepresented to Illinois diabetics and payors
                                                             that the Manufacturer Payments they received lowered the actual
                                                             price of the at-issue drugs.

                                                   490.                                                                          as

                                             prohibited by the Consumer Fraud Act, 815 ILCS 505/2, because it caused substantial

                                             injury, cannot be reasonably avoided, and there are no countervailing benefits to

                                             consumers that result from Defendants egregiously driving up the price of the at-issue

                                             drugs. In particular:

                                                          Diabetics in Illinois need these diabetes medications to survive.

                                                          Manufacturer Defendants make nearly every single vial of insulin
                                                          available in Illinois.




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                                                           PBM Defendants completely dominate the pharmacy benefit services
                                                           market and control nearly every Manufacturer Payment paid in this
                                                           market.
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                                                           The price increases for the at-issue drugs bear no relation to
                                                           manufacturing or production cost increases or changes in supply and
                                                           demand conditions.

                                                           In fact, the prices have become so untethered from production costs, that
                                                           insulins, which the Manufacturer Defendants could profitably price at
                                                           less than $2 a vial, are now priced at up to $400 a vial or more.

                                                           There are no conceivable benefits to diabetics or payors in Illinois to
                                                           being forced to pay these egregious prices for medicines they need to stay
                                                           alive. In fact, the opposite is true
                                                           egregious price increases, the health and wellbeing of diabetics in Illinois
                                                           has been severely and detrimentally impacted and these diabetics have
                                                           overpaid millions of dollars for the at-issue drugs.


                                                           and the State.

                                                    491.   Defendants misconduct is also unfair because it violates Illinois public

                                             policy in several respects, including:

                                                           It is a public policy in Illinois that diabetics and their families should
                                                           have access to and not be priced out of the at-issue life-saving
                                                           medications.13

                                                           In addition, as exhibited by Ill. Admin. Code tit. 14, § 470.250, it is also
                                                           against Illinois public policy to claim an actual savings from a list price
                                                           or term of similar meaning unless the             is the price at which the
                                                           product is offered by a reasonable number of sellers. Here, as explained
                                                           above, the PBMs use the artificial prices generated by the Insulin Pricing

                                             13 See, e.g., Illinois Senator Andy Manar in discussing the Illinois law capping insulin out of

                                             pocket spending,                           [t]he swift passage of the insulin bill, driven by
                                             ordinary people, shows that Illinoisans are united by the simple belief that no family should
                                             ever be forced to ration or go without life-saving medication Illinois Governor JB Pritzker
                                             statement on the passage of SB2969 that required insurances to cover essential diabetic tools,
                                              But for too long, diabetics have had to make the impossible choice between obtaining this
                                             necessary medical equipment or putting food on the table. That is an unacceptable burden to
                                             ask diabetics to bear        see also Report to General Assembly on Insulin Pricing at
                                             https://www2.illinois.gov/sites/Insurance/Reports/Reports/Insulin-Pricing-Report-
                                             November-2020.pdf;


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                                                          Scheme
                                                          Illinois diabetics, payors and the healthcare system.
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                                                                        SECOND CAUSE OF ACTION

                                                                               Unjust Enrichment
                                                                             (Against All Defendants)

                                                   492.   The State re-alleges and incorporates herein by reference each of the

                                             allegations contained in the preceding paragraphs.

                                                   493.   Defendants unjustly deceived Illinois diabetics and the State, and have

                                             received a financial windfall from the Insulin Pricing Scheme at the expense of the

                                             State and Illinois diabetics.

                                                   494.   Defendants wrongfully secured and retained unjust benefits from Illinois

                                             diabetics and the State, in the form of amounts paid for diabetes medications and fees

                                             and payments collected based on the artificially inflated prices generated by the

                                             Insulin Pricing Scheme.

                                                   495.   It is inequitable and unconscionable for Defendants to retain these

                                             benefits.

                                                   496.   Defendants have been enriched by revenue resulting from the Insulin

                                             Pricing Scheme while Illinois diabetics and the State have been impoverished by

                                             Defendan                                                Illinois

                                             impoverishment are connected.

                                                   497.   Defendants retention of these benefits violates fundamental principles of

                                             justice, equity, and good conscience.

                                                   498.   Accordingly, Defendants should not be permitted to retain the proceeds

                                             from the benefits conferred upon them by the Insulin Pricing Scheme. The State seeks


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                                             resulting from their unlawful conduct and seeks restitution and/or recission, in an
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                                             equitable and efficient fashion to be determined by the Court.

                                                   499.   There is no express contract governing the dispute at-issue. PBMs do not

                                             contract with payors, including the State, on an individual drug basis.   The State s

                                             claims do not arise out of a contract, but rather are based on the larger unfair and

                                             deceptive Scheme that drove up the at-issue artificially inflated list prices for all

                                             Illinois diabetics and the State.

                                                   500.                                                        just enrichment, as

                                             referenced above, Illinois diabetics and the State suffered, and continue to suffer,

                                             ascertainable losses and monetary harm as specified herein in an amount to be

                                             determined at trial.

                                                                                 PRAYER FOR RELIEF

                                                   WHEREFORE, PREMISES CONSIDERED, the State of Illinois, ex rel. Kwame

                                             Raoul, Attorney General, prays that this Honorable Court enter an Order:

                                                   A.     Finding

                                                          violations of the Illinois Consumer Fraud and Deceptive Business

                                                          Practices Act, 815 ILCS 505/1, et seq.

                                                          violated the common law cause of action alleged herein;

                                                   B.     Preliminarily and permanently enjoining Defendants and their

                                                          employees, officers, directors, agents, successors, assigns, affiliates,

                                                          merged or acquired predecessors, parent or controlling entities,

                                                          subsidiaries, and any and all persons acting in concert or participation


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                                                  with Defendants from continuing the unlawful method, acts, and

                                                  practices described above;
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                                             C.   Requiring Defendants to pay all restitution that may be owed to Illinois



                                                  pursuant to 815 ILCS 505/7;

                                             D.   Ordering the Defendants to pay up to $50,000 per deceptive or unfair

                                                  act or practice and an additional amount of $50,000 per each violation

                                                  if the deceptive or unfair act or practice is found to have been committed

                                                  with intent, as provided in Section 7 of the Consumer Fraud Act, 815

                                                  ILCS 505/7;

                                             E.   Disgorging all revenues, profits, and gains achieved in whole or in part

                                                  through the unfair and/or deceptive acts or practices complained of

                                                  herein;

                                             F.   Requiring

                                                  and litigation, including, but not limited to, expert witness fees,



                                             G.   Awarding all other restitution, disgorgement, penalties under the state

                                                  laws set forth in this Complaint and the general equitable powers of

                                                  this Court as set forth in Section 7 of the Consumer Fraud Act;

                                             H.   Awarding pre-and post-judgment interest as provided by law, and that

                                                  such interest be awarded at the highest legal rate from and after the

                                                  date of service of the Complaint; and




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                                                   I.       Awarding such other, further and different relief as the case may require

                                                            and the Court may deem just and proper under the circumstances.
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                                             RESPECTFULLY SUBMITTED on December 2, 2022.


                                                                                      THE STATE OF ILLINOIS, by KWAME
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                                                                                      ILLINOIS

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